                Case 1:25-cv-02104-MAU                 Document 1-2            Filed 07/01/25              Page 1 of 85
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                                                                            Case No.    5?o;;,, XA:600 33 t:,<-(
                                                             COMPLAINT
                                      Jurisdiction of this Court is founded on D.C. Code§ 11-921.



PLAINTIFF
                                                                        \tJ}'S \rx\e.<f\Q:\\cJ/\o, \ 1 LL(,
                                                               vs       DEFENDANT

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  I.    \Vritc a short and plain statement of your claim. including any relevant facts, dates. and locations:

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 2.     What relief arc you requesting from the Court'! Include any request for money damages.



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Form CA-3074 [ Rev. Nov. 2017 I                                                                   Super. Ct. Civ. R. 3
          Case 1:25-cv-02104-MAU                Document 1-2              Filed 07/01/25   Page 2 of 85




 3.    State any other information, of which the Court should be aware:




                                                       SIGNATURE

  To the best of my knowledge, everything in this Complaint is true and I am not filing this Complaint to
  harass the Defcndant(s). Superior Court Civil Rules l l(b).



~k\Qif\ ijno-e ol
  SIGNATUR


                1
      DAE




Subscribed and sworn to before me this _-1.c1}L.J-Y,"-----P----- day of     /v lO\,.j




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            Case 1:25-cv-02104-MAU                                 Document 1-2                      Filed 07/01/25                 Page 3 of 85
 EEOCFamS(M'.11)

                      CHARGE OF DISCRIMINATION                                                         Charge Presented To:                 Agen<:y(ies) Charge No(s):
             This form ie affeaed by the Privacy Act of 1974. See eodosed Privacy Ad                               FEPAx2
                    Statement and other ink>mtation before oompleting thia fonn.



                                                   District of Columbia Office of Human Rights
                                                                                                            00     EEOC

                                                                                                                                                           and EEOC
                                                                                                .,-
Name {llldlalfa Mr., Ma., Mrs.)
                                                                         StalltorlOclll

                                                                                                                   Home Phone (Incl. ArN (.;o{»J   I     Date of Birth




·--
Ms. Raven Jones

2449 South Street SE, Washington, DC 20020 (jrae5273@gmalLcom)
                                                                               Citv, S1ate and ZIP Code


C/0: Ulysses Gus Triantis, Esq., Triantis Law, 1800 Sweetbay Drive, Salisbul)', MD 21804
                                                                                                                       202-817-6918                    12/17/1993



(u~law@i:mail,£om) 301-343-5008
Name                                                                                                               No ~ - Mllmberl            Phone No. (In~ ArN Code)

WTS International, LLC                                                                                                    15+                      202-868-5180
............                                                                   City, st.ta and ZIP Code

Corporate address: 3200 Tower Oaks BLVD, #400, Rockville, MO 20852
Place of business: 1100 Pennsylvania Avenue NW, Washington, DC 20004


DISCRIMINATION BASED ON (Ch«:k -,,proprlllle box(n).)
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  □ RACE             □ COLOR              OsEX                □ RELIGlON             □ NATIONAL ORIGIN                         2/6/2023                02/25/2023
       0      RETALIAIDN          □       AGE      0-ITY 0                                OTHER (Sp«;ify btNOw.J
                                                                                          Pregnancy
                                                                                                                                 □ CONTINUING ACTION
THE PARTICUlARS ARE (If tlddllJoMJ paper ts nNtMd, ett¥N:h eldl'a llhNt(a)):



 I: Personal Harm: I, Raven Jones, an African American female, worked for ARCH Amenities, which is a
 contracting company for the massage therapy spa located in the Waldorf Astoria in Washington, DC. I began
 employment with ARCH on or about June of 2022. I originally was hired as a massage therapist and later was
 promoted to lead massage therapist. Days leading up to February 6, 2023, I started experiencing certain
 symptoms related to being pregnant. On or about February 8, 2023, I found out that I was pregnant. On or about
 February 9, 2023, I informed my supervisor (Mr. Melvin Carr) that l was pregnant. During that February 9,
 2023 meeting, I informed Mr. Carr that I was consistently feeling light-headed, dizzy, and that l was having
 terrible morning sickness. l worked Fridays, Saturdays and Sundays, from l 0am-8prn, Wednesdays and
 Thursdays, I 0am to 6pm and every other Tuesday, I 0am-6pm. I explained to Mr. Carr that I was having a
 difficult time massaging clients on a back to back to back basis as 1 needed more time to use the bathroom, eat a
 snack and try to recuperate health-wise between appointments. I told Mr. Carr that I needed an adjustment to my
 schedule to accommodate my health issues and if I could work up to 6pm everyday, instead of 8pm. There were
 many other employees working that had this type of schedule and during my time working, my superiors always
 had flexibility when it came to moving clients to fit employee schedules. During this conversation, Mr. Carr
 stated that he would help me out and "blocked out" 6pm and 7pm appointment slots. At this point, I felt that
 accommodations were going to be made. However, the following day, I went back into work and noticed that the
 6pm and 7pm client-massage appointments were now "unblocked". They were still scheduling me for
 appointments back to back to back without breaks and at the evening times. 1 continued to work even though it
 was a struggle for me.
                                                                                                                                                         _____,
 On February 17, 2023, I asked to have a meeting with Mr. Carr and the Director Ms. Jessica. At this meeting I
 discussed the affects that my pregnancy was having on my health and wanted to know why they weren't helping
 me out with schedul;no, I loved mv iob and as far as I know. thev a=reciated mv work. Durina this meefnn we
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   discussed my other physical conditions/disabilities such as herniated discs and torn ligaments in my left hand
   and the fact that I still needed to get periodic MRIS' on my head due to a brain tumor I had removed back in
   2015. 1 explained to them the importance of breaks and scheduling for me especially with the pregnancy and my
   other disabilities. I was upfront with them about possible doctor's visits that would be coming up. I was even up
   front with my supervisors about being pregnant as I was only IO weeks pregnant at the time I told them.
   Typically, women wait approximately 3 months to reveal their pregnancy. At this meeting, I gave up the lead-
   massage position.

   On February 18, 2023 (Saturday), no accommodations for my pregnancy were made and I was suffering health
   wise. On this day, I massaged many clients and performed my job satisfactorily. During the day, Mr. Carr
   asked to speak with me in his office. He told me that I needed to massage approximately 6 clients the following
   day (Sunday February 19, 2022) and I discussed my concerns about breaks and scheduling clients at the 6pm
   time slot. I couldn't understand why Mr. Carr and Ms. Jessica weren't accommodating me and being flexible
   with the work schedule. On Sunday February 19, 2023, I texted my supervisor with advanced notice at 4am in
   the morning and told him that I was ill and to give me till 7am to let him know whether I was well enough to
   come in. Before I could tell him, he indicated that I take the day off to recover.

   I was scheduled to work the following week, February 22, 23, 24, 25, and 26. Ms. Jessica called me on or about
   February 21, 2023 and asked why I wasn't on the schedule for February 22nd and 23rd. I explained to Ms.
   Jessica that I was going to be working those days and didn't know who took me off the schedule. She told me to
   check in with her around the end of day on February 21 to see about work on the 22nd. I spoke to Ms. Jessica at
   the end of day on the 2 I"' and she told me that I was off the schedule for the 22 nd • On February 22, 2023, I called
   Ms. Jessica to see what my schedule was on the 23"', and it was explained to me that I wasn't on the schedule
   again. During the conversation, Ms. Jessica requested that I bring her a doctor's note. After that conversation, I
   got a medical note and emailed it to Ms. Carr on February 23, 2023. On Friday 24, 2023, I became very ill due
   to the pregnancy and my doctor ordered that I stay home. I let Ms. Jessica know that I wasn't able to come in.

   The Following day, February 25, 2023, I received a phone call that I was terminated.


  11: RESPONDENT'S REASON FOR ADVERSE ACTION: Respondent terminated me due to my pregnancy
  and the fact that I requested accommodations to alleviate health Issues I was experiencing related to my being
  pregnant. Instead of trying to accommodate me with necessary breaks and certain scheduling, my employer
  chose not to deal with my pregnancy and terminate me. Any reason my employer asserts for my termination
  is/was pretext for disability discrimination and retaliation.

  III: STATEMENT OF DISCRIMINATION: I was discriminated and retaliated against on the basis ofmy
  disabilities or perceived disabilities in violation of the Americans with Disabilities Act, as amended
  (" ADAAA"), the Pregnancy Discrimination Act of 1978, and DC's Pregnant Workers Fairness Act of 2014
  and a llcable       ulations    ardin unlawful em lo ment ractices.
 I want 1N1 Charge 9N with boll the EEOC and 1-. Staa or local Agenq,, tfany. I           NOTARY - \Wlen nec:NSIIY t>r Stn and LOOI/ AQ9ncy ReqUh'emetn
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1---------------,....,...--....,....-.,-----l I swear or affirm that I have read the above charge and that a• true to
 I declare under penaly of perjury that the above Is true and corred.                     the best of my knowledge, Information and belief.
                                                                                          SIONATURE OF COMPlAINANT



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         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
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                   DETERMINATION AND NOTICE OF RIGHTS
                    (This Notice replaces EEOC FORMS 161, 161-A & 161-B)

                                       Issued On: 02/28/2025
To: Raven Jones
    2449 South St SE
    Washington, DC 20020

Charge No: 570-2023-01875
EEOC Representative and email:        ROBERT HERSEY
                                      Administrative Support Assistant
                                      robert. hersey@eeoc.gov


                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                              NOTICE OF YOUR RJGHT TO SUE

This is otlicial notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
Jfyou file a lawsuit based on this charge, please sign in to the EEOC Public Portal and upload the
court complaint to charge 570-2023-01875.

                                               On behalf of the Commission.

                                               Digitally Signed By:Mindy E. Weinstein
                                              02/28/2025
                                               Mindy E. Weinstein
                                               Director
     Case 1:25-cv-02104-MAU              Document 1-2   Filed 07/01/25   Page 6 of 85



Cc:
Nicholas Bernard
Arch Amenities Group
3200 TOWER OAKS BL VD STE 400
Rockville, MD 20852

Danielle Schivek
Arch Amenities Group
3200 Tower Oaks Blvd Ste 400
Rockville, MD 20852

Ulysses Triantis
Triantis Law
ugtlaw@gmailcom


Please retain this notice for your records.
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From: Jessica Rose <Jessica.Rose@waldorfastoria.com>
Sent: Saturday, February 25, 2023 10:27 AM
To: Valarie Maloff <vmaloff@archamenity.com>
Subject: Raven Jones Termination
Importance: High

Good morning Valarie,

I just wanted to make you aware that we are moving forward with termination of Raven Jones. Since initially becoming
lead, David has never shared any of the feelings with me he stated in the attached documenation. When she first
became lead he and Kira both voiced some concerns, in which I stated if you ever have any issues with Raven as lead
please bring them to my attention. Since then neither of them had ever brought anything to me or to Melvin.

There was an incident that happened on Saturday evening after I had left for the day that was not brought up to me
until I returned on Tuesday morning. I reached out to Melvin to ask about the situation as I heard multiple stories from
people that were and also were not here. I told Melvin to please have anyone that witnessed the incident to please
write something, so that we can use it as the documentation for her termination. I wanted to have documentation of
what happened instead of the hearsay before moving forward with anything. The attached was sent to me yesterday
afternoon.

Besides us processing the term in ADP, and attaching the document David provided. Is there anything else needed?

Thank you
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                JESSICA ROSE
                DIRECTOR OF SPA

                I JOO Pcnm,~·lvania Avenue NW
                Washington. f>istric1 of Columbia 20004

                Tel: · I 20:? 868 5080
                Crll:   <   I 571 531 7454

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April 12, 2023


To whom this may concern,


I am contacting you out of desperation. At this point in time I feel I've run out of options and
need advice moving forward professionally, if that is even possible. During my employment
here at the Waldorf Astoria Spa, I've witnessed and encountered many situations that are
surely not only unprofessional but well against Hilton and AAG rules and regulations as well as
code of conduct. Allow me to explain.

From the time I received my offer letter, I was assured by Melvin Carr that there was on site
parking, the shift hours (not hours of operation) were 10:00am-6:00pm, and that checks/direct
deposit were issued bi-weekly. Shortly after I was onboarded I realized none of those things
were true and were just used as selling points for me to accept the job offer as the Spa was
understaffed in the receptionist department.

Due to me being excited to be apart of the "Waldorf Astoria Spa" team, although I realized the
exaggerations and lies, I accepted the reality at hand and proceeded with employment. Moving
forward, I did take a mental note of the character traits I had witnessed. It was clear to me
Melvin would use manipulation tactics to get whatever it was that he wanted. After meeting
Jessica, I became more optimistic about employment here. However. that didn't last long.

Throughout my employment (since October 6, 2022), I have witnessed Melvin be apart of and
do extremely questionable things for the benefit of himself and whoever he favored at the time.
This includes but is not limited to lying to guests and upper management, over charging guests
and adding additional gratuity onto checks of guests he assumes to be wealthy, stealing retail
product and marking it out of inventory for his own personal use, sleeping while on duty {I have
a photo), showing revealing and provocative photos to staff which in my opinion is considered
sexual harassment, allowing a previous employee to have sexual intercourse in the
establishment on one occasion, smoke a vape pen throughout the establishment (in front of
security cameras), admit to self medicating for stress which he is known to indulge in drug use,
not show up for shifts in Jessica's absence leaving the receptionist on duty (myself or
Stephanie) in charge of the spa, making mental health jokes about employees, allowing drunk
employees to complete shifts, bragging about having the power to get a previous employee
fired, going off site to have drinks with friends while on duty, use manipulation and intimidation
tactics on staff in efforts to receive little to no push back on changes he put in place to
accommodate himself.

I was afraid to come forward previously due to the intimidation tactics he would constantly
reiterate and use on my coworkers and myself. However, today was the last straw for me. I
refuse to be taunted, spoken to like a child, disrespected, threatened with write ups or less
hours and being fired any longer. I will not allow the tactics and manipulation to taint the
workplace or be the norm for myself or my coworkers.

There is a blatant display of favoritism amongst the massage therapists and estheticians as
well as the guest experience team. There have been times when someone made him upset and
he would come to the front and arrange the schedule so that they had less or no appointments.

He has made this experience extremely uncomfortable for the majority of my employment. I am
also aware of other employees being uncomfortable as well, whether they will admit it to you or
not. After Jessica's departure, he has tried to implement many changes that don't make sense
from a business or staffing standpoint, neither do the changes cater to the needs of our guests.
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Working with Melvin has become unbearable since Jessica's departure. It's almost as if he has
multiple personalities. There is the charming, well mannered, elegant even version he displays
in front of AAG and Hilton representatives. And then there's the greedy, malicious , self-
centered version he displays to us as his employees on a day to day basis. Who we get is a
mystery daily and often times really just depends on his mood. I've never worked in an
environment as toxic as this.

When I look at Waldorf Astoria Spa, I think luxury, elegance, extraordinary guest experience
and lasting impressions. However working here has been very short of any of that as of lately. I
do enjoy the company as a whole and would love the opportunity to work with a Spa Director
that is experienced and truly for the company and guests. I had plans to develop and grow
within the company but it has been made extremely difficult for me to even want to come into
work anymore.

In my opinion, an investigation is long overdue. Many of my coworkers have expressed similar
concerns throughout my duration of employment. Although I do not want to involve anyone
that is not comfortable speaking up, I would just advise you to inquire with the entire Spa team
individually. I am confident the results will astonish you.

With that being said, I hope there can be changes implemented immediately for the current
employees and future of the Spa. Please reach out if I may be of any further assistance.
Thank you for your time. I look forward to your response.

Kindest regards,
Mahadiah McDowell
mahadiahmcdowell@gmail.com
( C) 202-391-2141


P.S.
I am open to scheduling a telephone conversation with you to discuss any of these matters.
Per his previous intimidation tactics, I would like to remain anonymous.
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  ST ATEM ENT OF FACTS

   5. Plaintiff and Defendant were engaged in an employment relationship founded on mutual trust.
   during which Plaintiff reasonably relied upon Defendant to uphold principles offaimess.
   equality. and due process in the workplace.

3. On or about February 26. 2023. Plaintiff was wrongfully tenninated based on unsubstantiated
   allegations made hy a colleague. This tennination followed without a ti.ill. fair. or impartial
   investigation into the claims.
4. Prior to her tem1ination. on February 17. 2023. at approximately 4:46 PM. Plaintiff attended a
   meeting with her direct supervisor and a director of the Defendant organization. Following this
   meeting. Plaintiff sent a conlinning email containing a transcription of the discussion to ensure
   mutual understanding and to document the conclusions reached therein.
5. In accordance with medical advice and following the meeting with management. Plaintift'--
   assisted hy the front desk receptionist---adjustcd her work schedule to ensure she would not he
   hooked beyond the newly agreed-upon limits. Plaintiff also provided a doctor·s note confirming
   medical orders to reduce her work schedule due to pregnancy-related needs.
6. At all relevant times. Plaintiff took reasonable steps to infonn her employer of her pn:gnancy
   and fonnally requested workplace accommodations related to the same. These requests came
   after Plaintiff voluntarily stepped down from her position as Lead Therapist. a supervisory role.
   to better address her health and responsibilities.
7. Throughout her employment. Plaintiff consistently pcrfonned her duties at a high level.
   maintaining professional excellence and meeting or exceeding expectations. Plaintiff had a
   legitimate expectation of being treated fairly and equitably by her employer, consistent with
   how similarly situated employees were treated.


8. Defendant knowingly and willfully breached the trust inherent in the employment relationship
   by accessing the scheduling system and removing the blocks placed on Plaintiffs calendar.
   which had been instituted in accordance with medical advice and with management's prior
   agreement. Despite these medically supported restrictions. Defendant pennitted third parties to
   sch(,'<lule Plaintiff beyond the doctor-recommended limits. and members of management directly
   scheduled Plaintiff themselves in violation of the agre'-'<l-upon accommodations.
  This breach of trust was fu11her compounded by retaliatory conduct. After Plaintiff raised
  concerns regarding the unauthorized removal of her schedule blocks and the disregard for her
  medical restrictions. mcmbcrs of Defendant ·s management issued threats of termination. Plaintiff
  was infonned that her reduced client load- •· resulting directly from her pregnancy-related
  medical accommodations----was causing financial loss to the company.
  These retaliatory actions occurred while the reasonable accommodations requested by Plaintitl:
  as supportt:d by her healthcare provider and consistent with her rights under applicable law. had
  not yet been implemented. Defendant"s conduct demonstrates a disregard for both Plaintiffs
  medical needs and her rights under the law. and constitutes a knowing violation of the duty of
  good faith, fair dealing. and non-retaliation.

  Subsequently. and continuing thercalier. an employee of Defendant made knowingly false and
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defamatory statements about Plaintiff to management. These statemcnts included. hut were not
limited to. false assertions regarding Plaintiffs character. professionalism. and \\ork ethic. Said
statements were a substantial factor leading to Plaintiffs wrongful termination.
4. The defamatory statements were made with actual malice and a reckless disregard for the
truth. Defendant's employee either knew the statements were false or acted with a conscious
inditlcrencc to their veracity. As a direct and proximate result, Plaintiff has sutlcred substantial
hann to her personal and professional reputation. including damage to workplace relationships
and diminished standing within her field.
5. These events occurred during a particularly vulnerable period in Plaintiff's lite. as she was
navigating the early stages of pregnancy while also moving into her first apartment. The
rcsulting stress intlictt-<l upon Plaintiff caused severe emotional distress. including heightened
anxiety. financial strain, and mounting debt. This undue hardship materially impacted Plaintiffs
well-being throughout the course of her pregnancy.
                   Case 1:25-cv-02104-MAU                    Document 1-2              Filed 07/01/25            Page 13 of 85
   M Gmail                                                                                            Ulysses Triantis <ugtlaw@gmail.com>


   Raven, Jones v. Arch Amenities Group (EEOC Case No. 670-2023-01875)
  Ulysses Triantls <ugtiaw@gmail.com>                                                                           Mon, Nov 13, 2023 at 12:38 PM
  To: "nbemard@archamenity.com• <nbemard@archamenity.com>
  Cc: George Triantis <gtriantis@forthepeople.com>

     Good afternoon Mr. Bernard,

     I write thls email with the expectation that It is for purposes of settlement only and not to be used at any trial or
     proceeding whatsoever.

     With that said, we are in receipt of your Answer. Take this letter as a demand for $125,000.00.              Also note, that this letter
     shall also setve as formal notice to AAG, its Officers, Directors and members of the Board of Directors, or any r,:lated entities with an
     interest in the Company to preserve all evidence and information that may be relevant to the pending legal claim and lawsuit.
     Specifically, the Company must make an affirmative effort to preserve all paper docwnents, videos, recordings and electronically
     stored information ("ES!") on all devices in your possession or control, regardless of the source of the documents or ESL "Presetving"
     the documents and ES! means that they must not be-destroyed, deleted or modified. In an abundance of caution, the Company is to
     undertake these preservation obligations as to all of the above information, sources and devices regardless of whether the
     Company thinks the information. source or device is relevant - e.g., preserve all text messages on any cell phone or other device
     within the past year regardless of the sender or recipient and regardless of their content. The Company's failure to comply can result
     in sanctions being imposed by the Court for spoliation of evidence or potential evidence.
     Jr AAG maintains our client executed an Arbitration Agreement covering the claims, please send over a copy.



    We sincerely look forward to a response.



    Sincerely,



     Ulysses

     [Quoted text hidden]




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                        Case 1:25-cv-02104-MAU                           Document 1-2                 Filed 07/01/25                Page 14 of 85
      M Gmail                                                                                                         Ulysses Triantis <ugtlaw@gmail.com>



      Raven, Jones v. Arch Amenities Group (EEOC Case No. 570-2023-01875)
      Nick Bernard <nbemard@archamenity.com>                                                    Tue, Nov 21, 2023 at 11 :14 AM
      To: Ulysses Triantis <ugtlaw@gmail.com>
      Cc: George Triantis <gtriantis@forthepeople.com>, "Danielle J. Schivek" <dschivek@archamenity.com>


         Good morning Mr. Triantis,



         As explained more fully in our Position Statement, AAG denies all allegations raised in Ms. Jones's claim. The amount of
         your demand suggests that a resolution is unlikely at this time. As such, AAG will allow the EEOC to examine the claims
         and discuss following the completion of that process.



        In the meantime, AAG will preserve all relevant records and documents. AAG does not allege that Ms. Jones is subject to
        an arbitration agreement.



         Thank you for reaching out, and have a good holiday.



         Regards,




                                                                        NICK BERNARD I ASSOCIATE GENERAL COUNSEL



              Q               ARCH
                              AMENITIES
                              GROUP
                                                                        Pronouns: He/Him

                                                                        nbernard@archamenity.com

                                                                        t: 202-916-7092 Im: 801-755-0098

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                                                                        www.archamenity.com


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         From: Ulysses Triantis <ugtlaw@gmail.com>
         Sent: Monday, November 13, 2023 12:38 PM
         To: Nick Bernard <nbemard@archamenity.com>
         Cc: George Triantis <gtriantis@forthepeople.com>
         Subject: Re: Raven, Jones v. Arch Amenities Group (EEOC Case No. 570-2023--01875)
    https:/!mail. google.com/mail/ u/O'?i k=ea2ddab4d5&view=pt&sea.rch=a II& permmsgid:;;rn.,;;g-f: 1783 I9C836173996175&simpl=msg-f: 1783190836173996 l 7 5   112




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  M Gmail                                                                                             Ulysses Triantis <ugtlaw@gmail.com>



  Raven, Jones v. Arch Amenities Group (EEOC Case No. 570-2023-01875)
  Ulysses Triantis <ugllaw@gmail.com>                                                                              Wed, Mar 12, 2025 at 2:05 PM
  To: skarp@archamenity.com
  Cc: "Danielle J. Schivek" <dschivek@archamenity.com>

     Hello Ms. Karp,

     My firm, Triantis Law, represents Ms. Raven Jones, who was a former employee of WTS. We filed a discriminaHon
     complaint with the EEOC and Just received a 90 day right to sue on February 28. A while ago, I made an offer to settle
     with Mr. Bernard ,who now has a reply email saying to contact you. I am reaching out to see if your client would like to
     settle this matter without proceeding to trial. We had made a settlement offer of $125,000.00 in late 2023 . If you would
     like to make a counter and see if we can work something out, please let me know. This is an offer to settle, and any
     discussions or amounts to settle are for settlement purposes only and not to be used at Trial. The EEOC Case number is
     570-2023-01875.
     [Quoted text hidden]




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 Arch Amenities Group
Team_Member Handbook
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                  ABOUT THIS HANDBOOK/DISCLAIMER
   We prepared this handbook to help team members find the answers to many questions that they
   may have regarding their employment with Arch Amenities Group. Please take the necessary time
   to read it.
   We do not expect this handbook to answer all questions. Your manager, department leaders and
   Human Resources also serve as major sources of information.
   Neither this handbook nor any other verbal or written communication by a management
   representative is, nor should it be considered to be, an agreement, contract of employment, express
   or implied, or a promise of treatment in any particular manner in any given situation, nor does it
   confer any contractual rights whatsoever. Arch Amenities Group adheres to the policy of
   employment at will, which permits the Company or the team member to end the employment
   relationship at any time, for any reason, with or without cause or notice.
   No Company representative other than Chief People Officer may modify at-will status and/or provide
   any special arrangement concerning terms or conditions of employment in an individual case or
   generally and any such modification must be in a signed writing.
   Many matters covered by this handbook, such as benefit plan descriptions, are also described in
   separate Company documents. These Company documents are always controlling over any
   statement made in this handbook or by any member of management.
   This handbook states only general Company guidelines. The Company may, at any time, in its sole
   discretion, modify or vary from anything stated in this handbook, with or without notice, except for
   the rights of the parties to end employment at will, which may only be modified by an express written
   agreement signed by the team member and Chief People Officer.
   This handbook supersedes all prior handbooks.
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 Team Member Handbook


  Section 1 - Governing Principles of Employment




 Welcome to Arch Amenities Group!

 Our mission is to be the ultimate partner for property owners and managers to create and activate
 spaces, delivering exceptional experiences for their customers through elevated service and
 innovative programming.

 We maximize the potential of people and spaces.
 Our Values

 Leading: we lead by maximizing the potential of places where people feel great spending their lime
 and dollars. This goes beyond simply activating a new space; it's fostering long-term success
 through our outstanding people, platforms and programming.
 Anticipatory: we anticipate what clients and their customers want and deliver exceptional
 experiences in response. Preparalion and foresight are in our organizational DNA.
 Engaging: we engage people by maximizing their valuable time with service, consideration, and
 style.
 Thoughtful: we are mindful of our clients' business objectives and how they intersect with guests'
 expectations and satisfaction. Thinking through all the facets of what makes a space and an
 experience meaningful is what we're all about.




 Arch Amenities Group is an Equal Opportunity Employer that does not discriminate on the basis of
 actual or perceived race, color, creed, religious creed, national origin, ancestry, citizenship status,
 age, sex or gender (including pregnancy, childbirth, breastfeeding and medical conditions related to
 pregnancy, childbirth, and breastfeeding), gender identity or expression (including transgender
 status), sexual orientation, marital status, military service and veteran status, physical or mental
 disability including HIV and AIDS, medical condition (cancer and genetic characteristics), genetic
 information, or any other characteristic protected by applicable federal, state or local laws and
 ordinances. Arch Amenities Group's management team is dedicated to this policy with respect to
 recruitment, hiring, placement, promotion, transfer, training, compensation, benefits, team member
 activities, access to facilities and programs and general treatment during employment.
 The Company will endeavor to make a reasonable accommodation of an otherwise qualified
 applicant or team member related to an individual's: physical or mental disability; sincerely held
 religious beliefs and practices; and/or any other reason required by applicable law, unless doing so
 would impose an undue hardship upon the Company's business operations.

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 Any applicant or team member who needs an accommodation in order to perform the essential
 functions of the job should contact the Manager and/or Human Resources to request such an
 accommodation. The individual should specify what accommodation is needed to perform the job
 and submit supporting documentation explaining the basis for the requested accommodation, to the
 extent permitted and in accordance with applicable law. The Company then will review and analyze
 the request, including engaging in an interactive process with the employee or applicant, to identify if
 such an accommodation can be made. The Company will evaluate requested accommodations, and
 as appropriate, identify other possible accommodations, if any. The individual will be notified of The
 Company's decision regarding the request within a reasonable period. The Company treats all
 medical information submitted as part of the accommodation process in a confidential manner.
 Any team members with questions or concerns about equal employment opportunities in the
 workplace are encouraged to bring these issues to the attention of the Manager and/or Human
 Resources. The Company will not allow any form of retaliation against individuals who raise issues of
 equal employment opportunity. If team members feel they have been subjected to any such
 retaliation, they should contact the Manager and/or Human Resources. If unable for any reason to
 contact this person, or if a satisfactory response is not received within five (5) business days after
 reporting an incident of what may be perceived to be a violation of this policy, team members should
 contact the next level supervisor.
 Note: if your supervisor or next level supervisor is the person toward whom the complaint is directed,
 you should contact any higher level manager in your reporting chain.
 To ensure our workplace is free of artificial barriers, violation of this policy, including any improper
 retaliatory conduct, will lead to discipline, up to and including discharge. All team members must
 cooperate with all investigations conducted pursuant to this policy.

 1-3. Prevention of Dlscrlrqlnatlon, Ha,-sment att.tRetallatlon                    .          .    ;_   ,;,i~~
 Arch Amenities Group does not tolerate and prohibits discrimination, harassment, abusive conduct,
 or retaliation of or against job applicants, contractors, interns, volunteers or team members by
 another team member, supervisor, vendor, customer or third party based on actual or perceived
 race, color, creed, religion, age, sex or gender (including pregnancy, childbirth and related medical
 conditions), sexual orientation, gender identity or gender expression (including transgender status).
 national origin, ancestry, marital status, protected medical condition as defined by state law
 (including cancer or genetic characteristics), physical or mental disability, military and veteran status,
 genetic information, or any other characteristic protected by applicable federal, state, or local laws
 and ordinances. The Company is committed to a workplace free of discrimination, harassment and
 retaliation.
 Our management team is dedicated to ensuring the fulfillment of this policy as it applies to all terms
 and conditions of employment, including recruitment, hiring, placement, promotion, transfer, training,
 compensation, benefits, team member activities and general treatment during employment.
 Discrimination Defined
 Discrimination under this policy means treating differently or denying or granting a benefit to an
 individual because of the individual's protected characteristic.


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 Team Member Handbook
 Harassment Defined
 Harassment is defined in this policy as unwelcome verbal, visual or physical conduct creating an
 intimidating, an offensive or a hostile work environment that interferes with work performance.
 Harassment can be verbal (including slurs, jokes, insults, epithets, gestures or teasing), visual
 (including offensive posters, symbols, cartoons, drawings, computer displays or e-mails) or physical
 conduct (including physically threatening another, blocking someone's way, etc.) that denigrates or
 shows hostility or aversion toward an individual because of any protected characteristic. Such
 conduct violates this policy, even if it is not unlawful. Because it is difficult to define unlawful
 harassment, team members are expected to behave at all times in a manner consistent with the
 intended purpose of this policy.
 Sexual Harassment Defined
 Sexual harassment can include all of the above actions, as well as other unwelcome conduct, such
 as unwelcome or unsolicited sexual advances, requests for sexual favors, conversations regarding
 sexual activities, and other verbal or physical conduct of a sexual nature. Sexual harassment
 includes unwelcome or unwanted conduct that is either of a sexual nature or directed at an individual
 because of that individual's sex when:

     • submission to that conduct or to those advances or requests is made either explicitly or
       implicitly a term or condition of an individual's employment;
     • submission to or rejection of the conduct or advances or requests by an individual is used as
       the basis for employment decisions affecting the individual; or
     • the conduct or advances or requests have the purpose or effect of unreasonably interfering
       with an individual's work performance or creating an intimidating, hostile or offensive working
       environment.


 Examples of conduct that violate this policy include:

   1. unwelcome or unwanted sexual advances, flirtations, advances, leering, whistling, touching,
      pinching, assault and blocking normal movement;
   2. requests for sexual favors or demands for sexual favors in exchange for favorable treatment;
   3. obscene or vulgar gestures, posters or comments;
   4. sexual jokes or comments about a person's body, sexual prowess or sexual deficiencies;
   5. propositions or suggestive or insulting comments of a sexual nature;
   6. derogatory cartoons, posters and drawings;
   7. sexually explicit e-mails, text messages or voicemails;
   8. uninvited touching of a sexual nature;
   9. unwelcome or unwanted sexually related comments;
  1O. conversation about one's own or someone else's sex life;
  11. conduct or comments consistently targeted at only one gender, even if the content is not
      sexual; and
  12. teasing or other conduct directed toward a person because of the person's gender.


 Abusive Conduct Defined
 Abusive conduct is defined under this policy as acts or omissions that would cause a reasonable
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 person, based on the severity, nature and frequency of the conduct, to believe that the team member
 was subject to an abusive work environment, which can include but is not limited to:

     • repeated verbal abuse in the workplace, including derogatory remarks, insults and epithets;
     • verbal, nonverbal or physical conduct of a threatening, abusive, violent, intimidating or
       humiliating nature in the workplace; or
     • the sabotage or undermining of the team member's work performance in the workplace.


 Abusive conduct does not include:

     • disciplinary procedures in accordance with adopted Company policies;
     • routine coaching and counseling, including feedback about and correction of work
       performance;
     • reasonable work assignments, including shift, post and overtime assignments;
     • individual differences in styles of personal expression;
     • passionate, loud expression with no intent to harm others;
     • differences of opinion on work-related concerns; and
     • the non-abusive exercise of managerial prerogative.


 Retallatlon Defined
 Retaliation means adverse conduct taken because an individual reported an actual or a perceived
 violation of this policy, opposed practices prohibited by this policy, or participated in the reporting and
 investigation process described below. "Adverse conduct" includes but is not limited to:

     • shunning and avoiding an individual who reports harassment, discrimination or retaliation;
     • express or implied threats or intimidation intended to prevent an individual from reporting
       harassment, discrimination or retaliation; and
     • denying employment benefits because an applicant or team member reported harassment,
       discrimination or retaliation or participated in the reporting and investigation process described
       below.


 All discrimination, harassment and retaliation is unacceptable in the workplace and in any
 work-related settings such as business trips and business-related social functions,
 regardless of whether the conduct is engaged in by a supervisor, a coworker, a client, a
 customer, a vendor or another third party.
 Reporting Procedures
 The following steps have been put into place to ensure the work environment is respectful,
 professional, and free of discrimination, harassment and retaliation. If team members have been
 subjected to or witnessed conduct which violates this policy, they should immediately report the
 matter to their Manager. If they are unable for any reason to contact this person, or if they have not
 received an initial response within five (5) business days after reporting any incident of what they
 perceive to be harassment, they should contact Human Resources at hr@archamenity.com. If the
 person toward whom the complaint is directed is one of the individuals indicated above, the team
 member should contact any higher-level manager in the reporting hierarchy.

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Every supervisor who learns of any team member's concern about conduct in violation of this policy,
whether in a formal complaint or informally, must immediately report the issues raised to Human
Resources at hr@archamenity.com.


Investigation Procedures
Upon receiving a complaint, the Company will promptly conduct a fair and thorough investigation into
the facts and circumstances of any claim of a violation of this policy or the Equal Employment
Opportunity policy. To the extent possible, the Company will endeavor to keep the reporting team
member's concerns confidential. However, complete confidentiality may not be possible in all
circumstances.
During the investigation, the Company generally will interview the complainant and the accused,
conduct further interviews as necessary, and review any relevant documents or other information.
Upon completion of the investigation, the Company shall determine whether this policy has been
violated based on its reasonable evaluation of the information gathered during the investigation. The
Company will inform the complainant and the accused of the results of the investigation.
The Company will take corrective measures against any person who it finds to have engaged in
conduct in violation of this policy, if the Company determines such measures are necessary. These
measures may include, but are not limited to, counseling, suspension or immediate termination.
Anyone, regardless of position or title, who the Company determines has engaged in conduct that
violates this policy will be subject to discipline up to and including termination.
Training
All Team members are required to undergo harassment prevention training as required by applicable
law.
Retaliation Prohibited
In addition to being a violation of this policy, harassment, discrimination or retaliation also can be
against the law. Team members who engage in conduct that rises to the level of a violation of law
can be held personally liable for such conduct.
Remember, the Company cannot remedy claimed discrimination, harassment or retaliation unless
team members bring these claims to the attention of management. Team members should not
hesitate to report any conduct they believe violates this policy.
       ;          ~   •                            ?                                   "



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Arch Amenities Group team members have the right to be free from discrimination in relation to
pregnancy or a condition related to the team member's pregnancy including, but not limited to,
lactation or the need to express breast milk for a nursing child, including the right to reasonable
accommodations for conditions related to pregnancy.
 Reasonable Accommodations
 Arch Amenities Group will provide a reasonable accommodation for the team member's pregnancy

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 or any condition related to the team member's pregnancy including, but not limited to, lactation or the
 need to express breast milk for a nursing child if the team member requests such an
 accommodation. However, the Company may deny such an accommodation if the accommodation
 would impose an undue hardship on the Company's program, enterprise or business.
 Reasonable accommodations may include, but are not limited to:

    1. more frequent or longer paid or unpaid breaks;
    2. time off to attend to a pregnancy complication or recover from childbirth with or without pay;
    3. acquisition or modification of equipment or seating;
    4. temporary transfer to a less strenuous or less hazardous position;
    5. job restructuring;
    6. light duty;
    7. private non-bathroom space for expressing breast milk;
    8. assistance with manual labor; or
    9. a modified work schedule; provided, however, that the Company is not required to discharge
       or transfer the team member with more seniority or promote the team member who is not able
       to perform the essential functions of the job with or without a reasonable accommodation.


 Notice and Documentation
Upon receiving a request for an accommodation from the team member or prospective team
member capable of performing the essential functions of the position involved, the Company will
engage in a timely, good faith and interactive process with the team member or prospective team
member to determine an effective, reasonable accommodation to enable the team member or
prospective team member to perform the essential functions of the team member's job or the
position to which the prospective team member has applied. The Company may require the team
member or prospective team member to provide documentation from an appropriate health care or
rehabilitation professional about the need for a reasonable accommodation; however, the Company
will not require documentation for the following accommodations:

    1.   more frequent restroom, food or water breaks;
    2.   seating;
    3.   limits on lifting more than 20 pounds; and
    4.   private non-bathroom space for expressing breast milk.


 The Company also may require documentation for an extension of the accommodation beyond the
 originally agreed to accommodation. Any team member who needs to request an accommodation
 due to pregnancy, childbirth or a related medical condition should contact the Employee's Manager.
 If the team member requested an accommodation but has not received an initial response within five
 (5) business days, she should contact Human Resources.

 Enforcement and Retaliation
 The Company will not:

    1. take adverse action against the team member who requests or uses a reasonable
       accommodation in terms, conditions or privileges of employment including, but not limited to,

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      failing to reinstate the team member to the original employment status or to an equivalent
      position with equivalent pay and accumulated seniority, retirement, fringe benefits and other
      applicable service credits when the need for a reasonable accommodation ceases;
   2. deny an employment opportunity to the team member if the denial is based on the need to
      make a reasonable accommodation to the known conditions related to the team member's
      pregnancy including, but not limited to, lactation or the need to express breast milk for a
      nursing child;
   3. require the team member affected by pregnancy or a condition related to the pregnancy,
      including, but not limited to, lactation or the need to express breast milk for a nursing child, to
      accept an accommodation that the team member chooses not to accept, if that
      accommodation is unnecessary to enable the team member to perform the essential functions
      of the job;
   4. require the team member to take a leave if another reasonable accommodation may be
      provided for the known conditions related to the team member's pregnancy, including, but not
      limited to, lactation or the need to express breast milk for a nursing child, without undue
      hardship on the Company's program, enterprise or business;
   5. refuse to hire a person who is pregnant because of the pregnancy or because of a condition
      related to the person's pregnancy, including, but not limited to, lactation or the need to express
      breast milk for a nursing child; provided, however, that the person is capable of performing the
      essential functions of the position with a reasonable accommodation and that reasonable
      accommodation would not impose an undue hardship, demonstrated by the Company, on the
      Company's program, enterprise or business.


If team members have any questions about or would like to request a reasonable accommodation
pursuant to this policy, they should contact their manager and/or Human Resources.




To help ensure a safe, healthy and productive work environment for our team members and others,
to protect Company property, and to ensure efficient operations, Arch Amenities Group has adopted
a policy of maintaining a workplace free of drugs and alcohol. This policy applies to all team
members and other individuals who perform work for the Company.
The unlawful or unauthorized use, abuse, solicitation, theft, possession, transfer, purchase, sale or
distribution of controlled substances (including medical marijuana), drug paraphernalia or alcohol by
an individual anywhere on Company premises, while on Company business (whether or not on
Company premises) or while representing the Company, is strictly prohibited. Team members and
other individuals who work for the Company also are prohibited from reporting to work or working
while they are using or under the influence of alcohol or any controlled substances, which may
impact the team member's ability to perform their job or otherwise pose safety concerns, except
when the use is pursuant to a licensed medical practitioner's instructions and the licensed medical
practitioner authorized the team member or individual to report to work. However, this exception
does not extend any right to report to work under the influence of medical marijuana or to use
medical marijuana as a defense to a positive drug test, to the extent the team member is subject to
any drug testing requirement, except as permitted by and in accordance with applicable law. This
restriction does not apply to responsible drinking of alcohol at business meetings and related social

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 outings.
 Violation of this policy will result in disciplinary action, up to and including discharge.

 The Company maintains a policy of non-discrimination and will endeavor to make reasonable
 accommodations to assist individuals recovering from substance and alcohol dependencies, and
 those who have a medical history which reflects treatment for substance abuse conditions. However,
 team members may not request an accommodation to avoid discipline for a policy violation. We
 encourage team members to seek assistance before their substance abuse or alcohol misuse
 renders them unable to perform the essential functions of their jobs, or jeopardizes the health and
 safety of any Company team member, including themselves.




 Arch Amenities Group is strongly committed to providing a safe workplace. The purpose of this policy
 is to minimize the risk of personal injury to team members and damage to Company and personal
 property.
 Arch Amenities Group does not expect team members to become experts in psychology or to
 physically subdue a threatening or violent individual. Indeed, Arch Amenities Group specifically
 discourages team members from engaging in any physical confrontation with a violent or potentially
 violent individual. However, Arch Amenities Group does expect and encourage team members to
 exercise reasonable judgment in identifying potentially dangerous situations.
 Experts in the mental health profession state that prior to engaging in acts of violence, troubled
 individuals often exhibit one or more of the following behaviors or signs: over-resentment, anger and
 hostility; extreme agitation; making ominous threats such as bad things will happen to a particular
 person, or a catastrophic event will occur; sudden and significant decline in work performance;
 irresponsible, irrational, intimidating, aggressive or otherwise inappropriate behavior; reacting to
 questions with an antagonistic or overtly negative attitude; discussing weapons and their use, and/or
 brandishing weapons in the workplace; overreacting or reacting harshly to changes in Company
 policies and procedures; personality conflicts with co-workers; obsession or preoccupation with a co-
 worker or supervisor; attempts to sabotage the work or equipment of a co-worker; blaming others for
 mistakes and circumstances; or demonstrating a propensity to behave and react irrationally.

 Prohibited Conduct
 Threats, threatening language or any other acts of aggression or violence made toward or by any
 Company team member WILL NOT BE TOLERATED. For purposes of this policy, a threat includes
 any verbal or physical harassment or abuse, any attempt at intimidating or instilling fear in others,
 menacing gestures, flashing of weapons, stalking or any other hostile, aggressive, injurious or
 destructive action undertaken for the purpose of domination or intimidation. To the extent permitted
 by law, team members and visitors are prohibited from carrying weapons onto Company premises.

 Procedures for Reporting a Threat
 All potentially dangerous situations, including threats by co-workers, should be reported immediately
 to any member of management with whom the team member feels comfortable. Reports of threats
 may be maintained confidential to the extent maintaining confidentiality does not impede Arch
 Amenities Group's ability to investigate and respond to the complaints. All threats will be promptly
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 investigated. All team members must cooperate with all investigations. No team member will be
 subjected to retaliation, intimidation or disciplinary action as a result of reporting a threat in good faith
 under this policy.
 If the Company determines, after an appropriate good faith investigation, that someone has violated
 this policy, the Company will take swift and appropriate corrective action.
 If the team member is the recipient of a threat made by an outside party, that team member should
 follow the steps detailed in this section. It is important for the Company to be aware of any potential
 danger in its offices. Indeed, the Company wants to take effective measures to protect everyone
 from the threat of a violent act by team members or by anyone else.




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  Section 2 - Operational Policies

                                                                                             +:            d   ~Yf
  2•1, Employee Classifications                                                  ,   . <·,        :,,.   . ""':

 For purposes of this handbook, all employees fall within one of the classifications below.
 Full-Time Team members - Team members who regularly work at least 30 hours per week who
 were not hired on a short-term basis.
 Part-Time Team members - Team members who regularly work fewer than 30 hours per week who
 were not hired on a short-term basis.
 Short-Term Team members - Team members who were hired for a specific short-term project, or on
 a short-term freelance, per diem or temporary basis. Short-Term Team members generally are not
 eligible for Company benefits, but are eligible to receive statutory benefits.
 Team members who regularly work at least 30 or more hours per week who were not hired on a
 short-term basis are eligible for health insurance benefits.
 In addition to the above classifications, team members are categorized as either "exempt" or ''non-
 exempt" for purposes of federal and state wage and hour laws. Team members classified as exempt
 do not receive overtime pay; they generally receive the same weekly salary regardless of hours
 worked. Such salary may be paid less frequently than weekly. The team member will be informed of
 these classifications upon hire and informed of any subsequent changes to the classifications.




 Arch Amenities Group operating hours vary by location.
 Team members will be assigned a work schedule and will be expected to begin and end work
 according to the schedule. To accommodate the needs of the business, at some point Arch
 Amenities Group may need to change individual work schedules on either a short-term or long-term
 basis.
 Team members will be provided meal and rest periods as required by law. A supervisor will provide
 further details.




 Arch Amenities Group may allow team members to work remotely if their job duties and work
 performance are determined to be eligible for remote work. Eligibility will be decided on a case-by-
 case basis by the Company. Team members also may be required to work remotely during periods
 of public health emergencies if government orders and mandates recommend such work.
 This policy provides general information regarding remote work/telecommuting. Team members who
 are approved to work remotely should consult their individual agreement for specific details of their
 remote work/telecommuting arrangement, such as expected work hours, equipment provided, and
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 other important information.
 Any remote work/telecommuting arrangement may be discontinued by the Company at any time and
 at the discretion of the Company. Team members also may discontinue the arrangement but may
 not be guaranteed office space at the Company's location.
 At-Will Employment
 This policy and any individual agreement addressing this work arrangement do not create a contract
 of employment and are not intended to be considered or construed as a promise of continued
 employment. Employment is at will and may be discontinued at any time by the Company or team
 member without notice, cause, or liability.
 Hours of Work
 Team members will work full time from home. Scheduled hours of work will be set by the team
 members' manager or supervisor. Team members should maintain regular contact with their
 supervisors and managers.
 Nonexempt team members must accurately record all hours worked pursuant to the Company's
 timekeeping system and take rest and meal breaks as if in the Company's workplace and as
 required by law. Nonexempt team members may not work beyond scheduled working hours
 (including working more than 40 hours in a workweek) without prior, written authorization from their
 manager or supervisor.
 Location
 Team members will provide, at their expense, a secure, dedicated work area. Team members are
 responsible for maintaining the work area in a safe, secure, and nonhazardous condition at all times.
 Team members will maintain security devices and procedures necessary to prevent use by
 unauthorized persons, including by preventing the connection of any Company-furnished computer
 system, network, or database to any computer, network, or database other than a computer,
 network, or database to which connections are provided or authorized by the Company.

 Duties
 Team members are expected to follow all existing Company policies and procedures. The duties,
 obligations, responsibilities, and conditions of employment with the Company remain unchanged.
 Team members must stay engaged with work throughout the workday and be fully available during
 normal business hours. If team members do not successfully perform their job duties remotely, this
 arrangement will be revoked. Team members are expected to follow existing Company policies with
 respect to scheduled and unscheduled time off, including the obligation to speak with their manager
 or supervisor before the scheduled start time in the event of an unscheduled absence, tardy, or early
 departure.
 Accidents and Injuries
 Team members agree to maintain safe conditions in the remote work space and to practice the same
 safety habits and rules applied on Company premises. If team members incur an injury arising out of
 the course and scope of the assigned job duties while working in the remote work space, the
 workers' compensation provisions in place for the state in which the team members are working will
 apply. Team members must notify their supervisor or manager immediately and complete all
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 necessary and/or requested documents regarding the reported injury. The Company assumes no
 responsibility for injuries occurring in the remote work space outside normal working hours or for
 injuries that occur as a result of a reasonably recognizable unsafe remote work space.
 Equipment
 Team members agree to use electronic equipment that has been encrypted and meets all of the
 Company's security requirements. If the Company provides equipment for home use, team
 members agree to provide a secure location for Company-owned equipment and will not use, or
 allow others to use, such equipment for purposes other than Company business. Team members
 have no expectation of ownership in such equipment, linkages, property, or other items installed or
 provided by the Company. The Company will bear the expense of removal of any such equipment,
 linkages, and installations provided by the Company upon the termination of the remote
 work/telecommuting arrangement but not modification of or repairs to the work location. Team
 members hereby release the Company from any damage or liability incurred in the installing or
 removal of the equipment provided by the Company.
 Return of Company Property
 All equipment, records, and materials provided by the Company will remain Company property.
 Team members agree to return Company equipment, records, and materials upon request. All
 Company equipment will be returned by team members for inspection, repair, or replacement as
 needed or requested or immediately upon termination of the remote work/telecommuting
 arrangement. All equipment must be returned within five (5) business days of written notice to the
 team members.
 Expenses
 Upon presentment of receipts and in accordance with the Business Expense Reimbursement policy,
 the Company will reimburse team members for certain preapproved expenses.
 Regular household utility charges, such as electricity, water, phone, Internet service, auto,
 homeowners' insurance, etc., are not reimbursable unless state law requires reimbursement.
 Confldentlallty
 Team members agree that they are subject to the Company's policies prohibiting the nonbusiness
 use or dissemination of the Company's confidential business information. Team members will take
 all appropriate steps to safeguard the Company's confidential business information, including
 segregating it from personal papers and documents, not allowing nonteam members to access such
 information, and keeping such information in locked drawers or file cabinets when not in use. Team
 members will maintain confidential information, including, but not limited to, information regarding the
 Company's products or services, processing, marketing and sales, client lists, client e-mail
 addresses and mailing addresses, client data, orders, memoranda, notes, records, technical data,
 sketches, designs, plans, drawings, trade secrets, research and development data, experimental
 work, proposals, new product and/or service developments, project reports, sources of supply and
 material, operating and cost data, and corporate financial information.
 Contact
 If team members have any questions concerning this policy or would like to apply to work remotely,
 they should contact Human Resources.
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  2-4. Timekeeping        ,       res                                              .v ,                  , :
                              '                                                .   '




 Team members must record their actual time worked for payroll and benefit purposes. Non-exempt
 team members must record the time work begins and ends, as well as the beginning and ending
 time of any departure from work for any non-work-related reason, on forms as prescribed by
 management.
 Altering, falsifying or tampering with time records is prohibited and subjects the team member to
 discipline, up to and including discharge.

 Exempt team members are required to record their daily work attendance and report full days of
 absence from work for reasons such as leaves of absence, sick leave or personal business.
 Non-exempt team members may not start work until their scheduled starting time.
 It is the team member's responsibility to sign time records to certify the accuracy of all time recorded.
 Any errors in the time record should be reported immediately to a supervisor, who will attempt to
 correct legitimate errors.




 Like most successful companies, Arch Amenities Group experiences periods of extremely high
 activity. During these busy periods, additional work is required from all of us. Supervisors are
 responsible for monitoring business activity and requesting overtime work if it is necessary. Effort will
 be made to provide team members with adequate advance notice in such situations.
 Any non-exempt team member who works overtime will be compensated at the rate of one and one-
 half times (1.5) their normal hourly wage for all time worked in excess of 40 hours each week, unless
 otherwise required by law.
 Team members may work overtime only with prior management authorization.
 For purposes of calculating overtime for non-exempt team members, the workweek begins at 12
 a.m. on Sunday and ends 168 hours later at 12 a.m. on the following Sunday.

 2-6. Safe Harbor Polic:y for Exempt Elllp                                                           ,

 It is Arch Amenities Group's policy and practice to accurately compensate team members and to do
 so in compliance with all applicable state and federal laws. To ensure proper payment and that no
 improper deductions are made, team members must review pay stubs promptly to identify and report
 all errors.
 Those classified as exempt salaried team members will receive a salary which is intended to
 compensate them for all hours they may work for Arch Amenities Group. This salary will be
 established at the time of hire or classification as an exempt team member. While it may be subject
 to review and modification from time to time, such as during salary review times, the salary will be a
 predetermined amount that will not be subject to deductions for variations in the quantity or quality of

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 the work performed.
 Under federal and state law, salary is subject to certain deductions. For example, unless state law
 requires otherwise, salary can be reduced for the following reasons:

     • full-day absences for personal reasons;
     • full-day absences for sickness or disability if the deduction is made in accordance with a bona
       fide plan, policy or practice of providing wage replacement benefits for such absences
       (deductions also may be made for the exempt team member's full-day absences due to
       sickness or disability before the team member has qualified for the plan, policy or practice or
       after the team member has exhausted the leave allowance under the plan);
     • full-day disciplinary suspensions for infractions of our written policies and procedures;
     • Family and Medical Leave Act absences (either full- or partial-day absences);
     • to offset amounts received as payment from the court for jury and witness fees or from the
       military as military pay;
     • the first or last week of employment in the event the team member works less than a full week;
       and
     • any full work week in which the team member does not perform any work.


 Salary may also be reduced for certain types of deductions such as a portion of health, dental or life
 insurance premiums; state, federal or local taxes; social security; or voluntary contributions to a
 401 (k) or pension plan.
 In any work week in which the team member performed any work, salary will not be reduced for any of
 the following reasons:

     • partial day absences for personal reasons, sickness or disability;
     • an absence because the Company has decided to close a facility on a scheduled work day;
     • absences for jury duty, attendance as a witness, or military leave in any week in which the
       team member performed any work (subject to any offsets as set forth above); and
     • any other deductions prohibited by state or federal law.


 However, unless state law provides otherwise, deductions may be made to accrued leave for full- or
 partial-day absences for personal reasons, sickness or disability.
 If team members believe they have been subject to any improper deductions, they should
 immediately report the matter to a supervisor. If the supervisor is unavailable or if the team member
 believes it would be inappropriate to contact that person (or if the team member has not received a
 prompt and fully acceptable reply), they should immediately contact Payroll@archamenity.com or
 any other supervisor in Arch Amenities Group with whom the team member feels comfortable.




 Team members will be paid semi-monthly for all the time worked during the past pay period. Time
 worked in the pay period from the 1st to the 15th of the month will be paid by the 22nd of the month.
 Time worked in the pay period from the 16th to the end of the month (28th, 30th or 31st) will be paid
 by the 7th of the month.
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 Payroll stubs itemize deductions made from gross earnings. By law, Arch Amenities Group is
 required to make deductions for Social Security, federal income tax and any other appropriate taxes.
 These required deductions also may include any court-ordered garnishments. Payroll stubs also will
 differentiate between regular pay received and overtime pay received.
 If there is an error in any team member's pay, the team member should bring the matter to the
 attention of Payroll@archamenity.com immediately so the Company can resolve the matter quickly
 and amicably.
 Paychecks will be given only to the team member, unless the team member requests that they be
 mailed or authorizes in writing that another person may accept the check.

 2-8, Direct Depc:11111

 Arch Amenities Group strongly encourages team members to use direct deposit. Enrollment is
 available via ADP Self-Service Online.
 .                        .
 2-9. Salary AdYtnces                         ,.                  .          .                          ,,

 Arch Amenities Group does not permit advances on paychecks or against accrued paid time off.
 Advance pay for vacation must be requested in writing at least one pay-period prior to the vacation
 period.

 2-10. Record Retention                 ..                                                         .
 Arch Amenities Group acknowledges its responsibility to preserve information relating to litigation,
 audits and investigations. Failure on the part of team members to follow this policy can result in
 possible civil and criminal sanctions against the Company and its team members and possible
 disciplinary action against responsible individuals (up to and including discharge of the team
 member). Each team member has an obligation to contact the General Counsel to inform them of
 potential or actual litigation, external audit, investigation or similar proceeding involving the Company
 that may have an impact on record retention protocols.

 2-11. Job Poetl"9J       .                                   .

 Arch Amenities Group is dedicated to assisting team members in managing their careers and
 reaching their professional goals through promotion and transfer opportunities. This policy outlines
 the on-line job posting program which is in place for all team members. To be eligible to apply for an
 open position, team members must meet the following requirements:

     •   be a current, regular, full-time or part-time team member;
     •   have been in current position for at least six (6) months;
     •   maintain a performance rating of satisfactory or above;
     •   not be on conduct/performance-related probation or warning;
     •   meet the job qualifications listed on the job posting; and
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     • provide their current manager with notice prior to applying for the position.


 If team members find a position of interest on the job posting website and they meet the eligibility
 requirements, an on-line job posting application must be completed in order to be considered for the
 position. Not all positions are guaranteed to be posted. The Company reserves the right to seek
 applicants solely from outside sources or to post positions internally and externally simultaneously.
 For more specific information about the program, please contact the Human Resources Department.

                         ' '                                                         '
 2•12. Social Security N          Privacy                               ,\       .

 It is the policy of Arch Amenities Group to ensure to the extent practicable the confidentiality of team
 members' Social Security Numbers in accordance with applicable law.
 The Company will not intentionally do any of the following acts which result in a prohibited disclosure
 of team members' Social Security Numbers. Violation of this policy will result in discipline up to and
 including discharge.

    1. Publicly display more than four (4) sequential digits of a Social Security Number
    2. Use more than four (4) sequen1ial digits of a Social Security Number as a primary account
       number or use more than 4 sequential digits of a Social Security Number on any identification
       badge or card, membership card, permit or license, except where permitted by law.
    3. Require team members to use or transmit more than four (4) sequential digits of their Social
       Security Numbers over the internet or on a computer system or network or to gain access to
       the internet, computer system or network unless the connection is secure or the transmission
       is encrypted. Similarly, the Company will not require team members to use or transmit more
       than four (4) sequential digits of their Social Security Numbers to gain access to the internet or
       a computer system unless the connection is secure, the transmission is encrypted, or a
       password or other unique personal identification or authentication device is also required.
    4. Include more than lour (4) sequential digits of Social Security Numbers on the outside of
       envelopes or packages or visible internal areas.
    5. Include more than four (4) sequential digits of Social Security Numbers in documents or
       information mailed to individuals, except as permitted by law.


 The Company limits access to Social Security Numbers to those team members and outside
 consultants whose job duties require that they use this information in connection with Company
 business. The individuals who have access to Social Security Numbers are those who work in the
 following areas:
 Human Resources
 Benefits Administration
 Computer and Information Technology
 Executive Management
 Legal Department
 Individuals who, though not employed by the Company provide legal, tax, benefits, management or
 other consulting services for the Company.

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 The Company will properly dispose of documents containing Social Security Numbers by ensuring
 that all such materials are shredded or otherwise destroyed prior to discarding such information.
 Data stored in electronic format will be rendered irretrievable before computers are discarded or
 destroyed.




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  Section 3 - Benefits


  3-1. Benefits Overview                                                                      •
                    "''   '                                                        "              "



 In addition to good working conditions and competitive pay, it is Arch Amenities Group's policy to
 provide a combination of supplemental benefits to all eligible team members. In keeping with this
 goal, each benefit program has been carefully devised. These benefits include time-off benefits, such
 as vacations and holidays, and insurance and other plan benefits. We are constantly studying and
 evaluating our benefits programs and policies to better meet present and future requirements. These
 policies have been developed over the years and continue to be refined to keep up with changing
 times and needs.

 The next few pages contain a brief outline of the benefits programs Arch Amenities Group provides
 team members and their families. Of course, the information presented here is intended to serve only
 as guidelines.
 The descriptions of the insurance and other plan benefits merely highlight certain aspects of the
 applicable plans for general information only. The details of those plans are spelled out in the official
 plan documents, which are available for review upon request from Benefits Manager. Additionally,
 the provisions of the plans, including eligibility and benefits provisions, are summarized in the
 summary plan descriptions ("SPDs") for the plans (which may be revised from time to time). In the
 determination of benefits and all other matters under each plan, the terms of the official plan
 documents shall govern over the language of any descriptions of the plans, including the SPDs and
 this handbook.
 Further, Arch Amenities Group (including the officers and administrators who are responsible for
 administering the plans) retains full discretionary authority to interpret the terms of the plans, as well
 as full discretionary authority with regard to administrative matters arising in connection with the
 plans and all issues concerning benefit terms, eligibility and entitlement.
 While the Company intends to maintain these team member benefits, it reserves the absolute right to
 modify, amend or terminate these benefits at any time and for any reason.

 If team members have any questions regarding benefits, they should contact Benefits Manager.




 Full-time team members will be paid for the following holidays:
                                             New Year's Day
                                       Martin Luther King, Jr. Day
                                             President's Day
                                              Memorial Day
                                Juneteenth National Independence Day
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                                           Independence Day
                                               Labor Day
                                           Thanksgiving Day
                                         Day after Thanksgiving
                                             Christmas Day
 While we recognize these holidays, this policy is not a guarantee of time off on the designated day.
 Many of our locations are open seven (7) days a week and may require staff to work on holidays.
 Team members required to work on a holiday are compensated with additional pay (i.e. holiday pay)
 or alternative time off.
 When holidays fall or are celebrated on a regularly scheduled work day, eligible full-time team
 members may request the day off and will receive one (1) day's pay at their regular straight-time
 rate.
 Eligible team members who are required to work on a holiday will receive a holiday pay rate, equal to
 time and one-half of their regular straight-time rate, for the actual time they work that day. The
 holiday pay rate is not applied to commissions or gratuities earned.
 For corporate-based team members, the offices will be closed on the designated holiday. If a
 holiday falls on a Saturday, the holiday will be recognized on the preceding Friday; if it falls on a
 Sunday, it will be recognized on the following Monday.
 Exempt team members who are required to work on a recognized holiday should coordinate an
 alternative day off.



 3-3. Paid Vacation          nlll Time

 We know how hard team members work and recognize the importance of providing time for rest and
 relaxation. We fully encourage team members to get this rest by taking your vacation and personal
 time. All eligible full-time team members may request paid time off for vacation or personal reasons,
 subject to manager approval. Due to business or staffing needs, requests are not guaranteed to be
 approved, partially or in whole.
 Every effort will be made to grant the team member's vacation preference, consistent with our
 operating schedule. However, if too many people request the same period of time off, the Company
 reserves the right to choose who may take vacation during that period. Team members with the
 longest length of service generally will be given preference. Vacation requests must be submitted to
 a team member's manager at least two (2) weeks in advance of their requested vacation dates.

 Accrual Policy
 Team members classified as full-time, non-exempt are eligible for the accrual policy. Select full-time
 exempt positions may also be assigned the accrual policy.
 During the first five (5) full years of employment, eligible full-time team members accrue up to eighty
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 (80) hours of vacation/personal time per year (i.e. two (2) weeks target). Vacation/personal lime is
 accrued on a per-hour-worked basis at a rate of 0.038 hours per hour worked.
 After five (5) years of employment, eligible full-time team members accrue up to 120 hours of
 vacation/personal time per year (i.e. three (3) week target). Vacation/personal time is accrued on a
 per-hour-worked basis at a rate of 0.057 hours per hour worked.
 Eligible team members accrue vacation/personal time up to a cap of one and one-half (1.5) times
 their maximum yearly accrual. At that point, accrual stops until their banked vacation is used. For
 example, if the maximum vacation accrual for a year is 80 hours, an eligible team member will stop
 accruing vacation once 120 vacation/personal time hours have been banked.
 Vacation may be used in hourly increments.
 Accrued, unused vacation is paid out upon separation. Subsequent re-employment will restart
 the team member's accrual.
 Advanced but unaccrued vacation will be deducted from your final paycheck, to the extent permitted
 bylaw.
 Unlimited Policy
 Team members classified as exempt (excluding Fitness Center Directors required to meet client-
 defined facility coverage) are eligible for unlimited vacation/personal time off and may request
 vacation/personal time after 90 days of employment. Positions classified as exempt (i.e. Fitness
 Center Director), yet accountable to client-specified facility coverage are assigned the Accrual Policy
 above for paid time off and not eligible for the unlimited policy.
 Under this plan, there is no systematic tracking or accruing of personal/vacation time off beyond the
 approval process described above. The intent of this policy is that the team member will ensure they
 manage their time off in a manner that prioritizes work responsibilities while balancing personal
 needs and/or commitments. Team members are expected to complete their productivity, deadlines,
 customer needs, and all job performance requirements. Failure to meet these requirements may
 require corrective action.
 The paid time off granted under this plan is not considered accrued time nor considered vested
 wages. Team members are not paid additional wages at the end of employment, regardless of lime
 taken or not, unless otherwise required by law.




 3-4. Paid Sick Tilll4I

 Illness is unexpected and can result in unplanned loss of income. When a team member is ill, it is
 important for them to stay out of the workplace to both recover and to protect the health of others.
 To help ease the burden of wage loss during illness, all eligible team members may accrue up to 40
 hours of paid sick time each calendar year (or maximum required by state, if higher). Sick time is
 accrued at the rate of one hour for every 30 hours worked, until the maximum time is accrued.


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 To be eligible to use paid sick time, team members must provide proper notification to management
 as soon as possible, at least two hours prior to the scheduled shift start. team members must give
 this notification for each day they are absent unless the absence has been approved in advance.
 team members may be required to submit, in writing, the reason or reasons for their continued sick
 leave and the estimated date of return. The Company may also require, at any time, written
 verification from the team member's doctor.
 Team members may carry over up to 40 hours of sick pay into the following calendar year. In
 recognition of healthy habits and reliable attendance, team members may receive a payout bonus of
 remaining unused sick time, after 40-hour carryover (or maximum amount required, if larger) each
 calendar year.
 Sick leave pay under this policy is like an income replacement insurance benefit, is not considered
 accrued time or considered vested wages. Team members will not be paid for unused sick leave at
 the end of employment unless otherwise required by law.
                                                                       "
 3-5. Lactation Breaks

 Arch Amenities Group will provide a reasonable amount of break time to accommodate team
 members desiring to express breast milk for their infant child, in accordance with and to the extent
 required by applicable law. The break time, if possible, must run concurrently with rest and meal
 periods already provided. If the break time cannot run concurrently with rest and meal periods
 already provided, the break time will be unpaid, subject to applicable law.
 The Company will make reasonable efforts to provide team members with the use of a room or
 location other than a toilet stall to express milk in private. This location may be the team member's
 private office, if applicable. The Company may not be able to provide additional break time if doing
 so would seriously disrupt the Company's operations, subject to applicable law. Please consult
 Benefits Manager with questions regarding this policy.
 Team members should advise management if they need break time and an area for this purpose.
 Team members will not be discriminated against or retaliated against for exercising their rights under
 this policy.




 On-the-job injuries are covered by Arch Amenities Group's Workers' Compensation Insurance Policy,
 which is provided at no cost. If team members are injured on the job, no matter how slightly, they
 should report the incident immediately to their supervisor. Failure to follow Company procedures may
 affect the ability of team members to receive Workers Compensation benefits.
 This is solely a monetary benefit and not a leave of absence entitlement. Team members who need
 to miss work due to a workplace injury must also request a formal leave of absence. See the Leave
 of Absence sections of this handbook for more information.




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 Arch Amenities Group realizes that it is the obligation of all U.S. citizens to serve on a jury when
 summoned to do so. All team members will be allowed time off to perform such civic service as
 required by law. Team members are expected, however, to provide proper notice of a request to
 perform jury duty and verification of their service.
 Team members also are expected to keep management informed of the expected length of jury duty
 service and to report to work for the major portion of the day if excused by the court. If the required
 absence presents a serious conflict for management, team members may be asked to try to
 postpone jury duty.
 Team members on jury duty leave will be paid for their jury duty service in accordance with state law;
 however, exempt team members will be paid their full salary for any week in which time is missed
 due to jury duty if work is performed for the Company during such week.




 Full-time team members may participate in Arch Amenities Group's insurance programs. Under
 these plans, eligible team members will receive comprehensive health and other insurance coverage
 for themselves and their families, as well as other benefits.
 Part-time team members may be eligible to participate in some ancillary benefit programs, as defined
 in the annual benefit plan documents.
 Upon becoming eligible to participate in these plans, team members will receive summary plan
 descriptions (SPDs) describing the benefits in greater detail. Please refer to the SPDs for detailed
 plan information. Of course, feel free to contact Benefits Manager with any further questions.




 Full-time team members are eligible to participate in the Long-Term Disability plan, subject to all
 terms and conditions of the agreement between Arch Amenities Group and the insurance carrier.
 This is solely a monetary benefit and not a leave of absence. Team members who will be out of work
 must also request a formal leave of absence. See the Leave of Absence sections of this handbook
 for more information.




 Arch Amenities Group provides enhanced monetary short-term disability benefits to full-time team
 members. These enhanced monetary benefits are inclusive of any monetary workers' compensation
 or statutory short-term disability benefits.
 This is not a leave of absence provision. Team members who will be out of work must request a
 leave of absence. See the Leave of Absence sections of this handbook for more information. Team
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members will be required to submit medical certification as requested by Arch Amenities Group.
Required medical certification under this policy may differ from the medical certification required for
any leave of absence requested.
Where required, Arch Amenities Group also provides statutory short-term disability insurance,
including California, New Jersey, New York and Rhode Island.
This is solely a monetary benefit and not a leave of absence. Team members who will be out of work
must also request a formal leave of absence. See the Leave of Absence sections of this handbook
for more information.




The Company recognizes that a wide range of problems - such as marital or family distress,
alcoholism, and drug abuse - not directly associated with an individual's job function can
nonetheless be detrimental to an team member's performance on the job. Consequently, we believe
it is in the interest of team members and the Company to provide an effective program to assist team
members and their families in resolving problems such as these as the need arises. To this end, the
Company provides an Employee Assistance Program (EAP) for team members and their eligible
family members. The EAP is designed to provide voluntary, private, confidential, and professional
counseling outside the workplace for any type of personal problem. The EAP provides consultation
services for referrals to local community treatment sources. All team members are eligible to use
this program and are encouraged to do so. Team member visits to the EAP are held in confidence to
the maximum possible extent.
Participation in the EAP does not excuse team members from otherwise complying with Company
policies or from meeting normal job requirements during or after receiving assistance. Nor will
participation in our employee assistance program prevent the Company from taking disciplinary
action against any employee for performance problems that occur before, during, or after the
employee seeks assistance through the program.




Arch Amenities Group encourages all team members to refer qualified job applicants for available job
openings. Other than managers in the line of authority and all Human Resources personnel, all team
members are eligible to receive team member referral awards. When making referrals, instruct the
applicant to list the team member's name on their employment application as the referral source. If
the referral is hired and completes 3 months of service and the team member is still the team
member of the Company, the team member is eligible to receive a monetary award. The reward is
currently a gross amount of $100 for regular part-time hires and $300 for regular full-time hires.
                                                                                                    ".
 3-13. Retirement Plan                                                                               •.

 Eligible team members are able to participate in Arch Amenities Group's retirement plan. Plan
 participants may make pre-tax contributions to a 401 (k) retirement account.
 Please refer to the SPD for detailed plan information. Of course, feel free to speak to Benefits
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 Manager if there are any further questions.

  3-14. Voting Leave

 In the event employees do not have sufficient time outside of working hours to vote in a county-
 conducted election, employees may take off working time to vote. Sufficient time is considered to be
 two (2) consecutive hours between working hours and the opening or closing of polls. This time
 should be taken at the beginning or end of the regular work schedule, whichever allows the most tree
 time tor voting and the least time off from work. Employees will be allowed voting leave on Election
 Day without loss of pay or retaliation. Where possible, supervisors should be notified of the need for
 leave in advance of Election Day. Supervisors may specify when leave may be taken.




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 Section 4 • Leaves of Absence


 4-1. Personal Leave                                                                                 .

 If team members are ineligible for any other Company leave of absence, Arch Amenities Group,
 under certain circumstances, may grant a personal leave of absence without pay. A written request
 for a personal leave should be presented to management at least two (2) weeks before the
 anticipated start of the leave. If the leave is requested for medical reasons and team members are
 not eligible for leave under the federal Family and Medical Leave Act (FMLA) or any state leave law,
 medical certification also must be submitted. The request will be considered on the basis of staffing
 requirements and the reasons for the requested leave, as well as performance and attendance
 records. Normally, a leave of absence will be granted for a period of up to eight (8) weeks. However
 a personal leave may be extended if, prior to the end of leave, team members submit a written
 request for an extension to management and the request is granted. During the leave, team
 members will not earn vacation, personal days or sick days. We will continue health insurance
 coverage during the leave if team members submit their share of the monthly premium payments to
 the Company in a timely manner, subject to the terms of the plan documents.
 When the team member anticipates returning to work, he or she should notify management of the
 expected return date. This notification should be made at least one week before the end of the leave.
 Upon completion of the personal leave of absence, the Company will attempt to return team
 members to their original job or a similar position, subject to prevailing business considerations.
 Reinstatement, however, is not guaranteed.
 Failure to advise management of availability to return to work, failure to return to work when notified
 or a continued absence from work beyond the time approved by the Company will be considered a
 voluntary resignation of employment.
 Personal leave runs concurrently with any Company-provided Short-Term Disability Leave of
 Absence.




 In the event of the death of an immediate family member (defined as a spouse, domestic/civil union
 partner, parent, child, sibling, grandparent, parent-in-law, stepchild, sibling-in-law, grandparent-in-
 law, or any relation residing in the team members's home or any other relation required by
 applicable law), team members may take up to 3 paid days off. If the team member is required to
 travel out of state, up to 2 more days of paid leave may be taken. All full-time team members are
 eligible for this benefit. In administering the policy, the Company may require verification of death.
 Child Bereavement Leave
 Team members who are eligible for leave under the federal Family and Medical Leave Act (FMLA)
 and who suffer the loss of a child may take up to two (2) weeks of unpaid leave for any or all of the
 following purposes:

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     • to attend the funeral or alternative to a funeral;
     • to make arrangements necessitated by the death of the team member's child; or
     • to grieve the death of the team member's child.


 For purposes of this policy, "child" means the team member's son or daughter who is a biological,
 adopted or foster child, a stepchild, a legal ward or a child of a person standing in loco parentis.
 Leave under this policy is only available to team members who have not exhausted their FMLA leave
 entitlement at the time bereavement leave is requested. In the event of the death of more than one
 (1) child in a 12-month period, the team member may take up to a total of six (6) weeks of
 bereavement leave during the 12-month period. Bereavement leave must be completed within 60
 days of the date on which the team member received notice of the death of the child.
 The team member requesting leave under this policy generally must provide Arch Amenities Group
 with at least 48 hours' advance notice of the intention to take bereavement leave, unless providing
 such notice is not reasonable and practicable under the circumstances.
 Team members may elect to use available paid time off while taking leave under this policy.
 The Company may require reasonable documentation in connection with leave taken under this
 policy.

 Team members will not be subject to adverse action for exercising rights or attempting to exercise
 rights under this policy, opposing practices that they believe to be in violation of this policy or
 supporting the exercise of rights of another under this policy.

 4-3. Voting Leave            .    . ,   .                  .                                    .   •,¥




 In the event team members do not have sufficient time outside of working hours to vote in a
 statewide election, the team member may take off enough working time to vote. Such time will be
 paid if required by state law. This time should be taken at the beginning or end of the regular work
 schedule. Where possible, supervisors should be notified at least two (2) days prior to the voting day.

 4-4. Witness and Cr~ Victim Leave

 Team members called to serve as an expert witness in a judicial proceeding on behalf of the State
 will be granted leave with pay. Team members summoned to appear in court as an expert witness,
 but not on behalf of the State may use available vacation and personal time to cover the period of
 absence.
 Team members who are victims of a violent crime and are subpoenaed or requested by the
 prosecutor to attend court for the purpose of giving testimony may be granted reasonable time off
 from work without pay to attend criminal proceedings related to the victim's case. Team members
 who are a victim's spouse or immediate family member may be granted reasonable lime off from
 work without pay to attend criminal proceedings related to the victim's case.
 Team members must give 48 hours' advance notice of the request for time off pursuant to this policy,
 unless impracticable or an emergency prevents the team member from doing so.
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 Upon request, the team member must provide verification that supports the team member's reason
 for being absent from the workplace. All information related to the team member's leave pursuant to
 this section shall be kept confidential by the Company.




 If team members are called into active military service or enlist in the uniformed services, they will be
 eligible to receive an unpaid military leave of absence. To be eligible for military leave, team
 members must provide management with advance notice of service obligations unless they are
 prevented from providing such notice by military necessity or it is otherwise impossible or
 unreasonable to provide such notice. Provided the absence does not exceed applicable statutory
 limitations, team members will retain reemployment rights and accrue seniority and benefits in
 accordance with applicable federal and state laws. Team members should ask management for
 further information about eligibility for Military Leave.
 If team members are required to attend yearly Reserves or National Guard duty, they can apply for
 an unpaid temporary military leave of absence not to exceed the number of days allowed by law
 (including travel). They should give management as much advance notice of their need for military
 leave as possible so that Arch Amenities Group can maintain proper coverage while team members
 are away.
 Family Military Leave
 Arch Amenities Group will grant eligible team members up to 30 days of unpaid family military leave
 if their spouse or child is called to military service with the State or the United States for more than
 30 days. Family military leave must be taken during the time federal or state deployment orders are
 in effect.
 To be eligible, the team member must have been employed for at least 12 months and have worked
 at least 1,250 hours during the 12-month period immediately preceding the request for family military
 leave. Team members may take family military leave only if they have exhausted all accrued
 vacation, personal, compensatory and other leave, except sick and disability leave.
 The request for leave must be made at least 14 days in advance if the leave will consist of five (5) or
 more consecutive work days. If the leave will consist of less than five (5) days, the request must be
 made with as much advance notice as is practicable.
 Team members that take family military leave may elect to continue benefits at their own expense
 during the leave.
 Team members that take family military leave will be reinstated to the position they held before
 commencing leave, or to a position with equivalent seniority, status, team member benefits, pay and
 other terms and conditions of employment.
 Team members must provide certification from the proper military authority to verify their eligibility for
 the family military leave requested.




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 The Leave Polley
 Team members may be entitled to a leave of absence under the Family and Medical Leave Act
 (FMLA). This policy provides team members information concerning FMLA entitlements and
 obligations team members may have during such leaves. If team members have any questions
 concerning FMLA leave, they should contact Benefits Manager.
 I. Eligibility
 FMLA leave is available to "eligible team members." To be an "eligible team member," the team
 member must: 1) have been employed by the Company for at least 12 months (which need not be
 consecutive); 2) have been employed by the Company for at least 1,250 hours of service during the
 12-month period immediately preceding the commencement of the leave; and 3) be employed at a
 worksite where 50 or more team members are located within 75 miles of the worksite.
 Special hours of service eligibility requirements apply to airline flight crew team members.
 II. Entitlements
 As described below, the FMLA provides eligible team members with a right to leave, health
 insurance benefits and, with some limited exceptions, job restoration.
 A. Basic FMLA Leave Entitlement
 The FMLA provides eligible team members up to 12 workweeks of unpaid leave for certain family
 and medical reasons during a 12-month period. The 12-month period is determined based on a
 rolling 12-month period measured backward from the date the team member uses their FMLA leave.
 Leave may be taken for any one, or for a combination, of the following reasons:

     • To care for the team member's child after birth or placement for adoption or foster care;
     • To care for the team member's spouse, son, daughter or parent (but not in-law) who has a
        serious health condition;
     • For the team member's own serious health condition (including any period of incapacity due to
       pregnancy, prenatal medical care or childbirth) that makes the team member unable to
       perform one or more of the essential functions of the team member's job; and/or
     • Because of any qualifying exigency arising out of the fact that the team member's spouse,
       son, daughter or parent is a military member on covered active duty or called to covered
       active duty status (or has been notified of an impending call or order to covered active duty) in
       the Reserves component of the Armed Forces for deployment to a foreign country in support
       of contingency operation or Regular Armed Forces for deployment to a foreign country.


 A serious health condition is an illness, injury, impairment or physical or mental condition that
 involves either an overnight stay in a medical care facility, or continuing treatment by a health care
 provider for a condition that either prevents team members from performing the functions of their job,
 or prevents the qualified family member from participating in school or other daily activities. Subject
 to certain conditions, the continuing treatment requirement may be met by a period of incapacity of

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 more than 3 consecutive calendar days combined with at least two visits to a health care provider or
 one visit and a regimen of continuing treatment, or incapacity due to pregnancy, or incapacity due to
 a chronic condition. Other conditions may meet the definition of continuing treatment.

 Quallfylng exigencies may include attending certain military events, arranging for alternative
 childcare, addressing certain financial and legal arrangements, attending certain counseling
 sessions, caring for the parents of the military member on covered active duty and attending post-
 deployment reintegration briefings.
 e_ Additional Military Family Leave Entitlement (Injured Servicemember Leave)
 In addition to the basic FMLA leave entitlement discussed above, an eligible team member who is
 the spouse, son, daughter, parent or next of kin of a covered servicemember is entitled to take up to
 26 weeks of leave during a single 12-month period to care for the servicemember with a serious
 injury or illness. Leave to care for a servicemember shall only be available during a single-12 month
 period and, when combined with other FMLA-qualifying leave, may not exceed 26 weeks during the
 single 12-month period. The single 12-month period begins on the first day an eligible team member
 takes leave to care for the injured servicemember.
 A "covered servicemember" is a current member of the Armed Forces, including a member of the
 National Guard or Reserves, who is undergoing medical treatment, recuperation or therapy, is
 otherwise in outpatient status or is on the temporary retired list, for a serious injury or illness. These
 individuals are referred to in this policy as "current members of the Armed Forces." Covered
 servicemembers also include a veteran who is discharged or released from military services under
 condition other than dishonorable at any time during the five years preceding the date the eligible
 team member takes FMLA leave to care for the covered veteran, and who is undergoing medical
 treatment, recuperation or therapy for a serious injury or illness. These individuals are referred to in
 this policy as "covered veterans."
 The FMLA definitions of a "serious injury or illness" for current Armed Forces members and covered
 veterans are distinct from the FMLA definition of "serious health condition" applicable to FMLA leave
 to care for a covered family member.
 C. Intermittent Leave and Reduced Leave Schedules
 FMLA leave usually will be taken for a period of consecutive days, weeks or months. However, team
 members also are entitled to take FMLA leave intermittently or on a reduced leave schedule when
 medically necessary due to a serious health condition of the team member or covered family
 member or the serious injury or illness of a covered servicemember. Qualifying exigency leave also
 may be taken on an intermittent basis.
 D. No Work Whlle on Leave
 The taking of another job while on family/medical leave or any other authorized leave of absence is
 grounds for immediate discharge, to the extent permitted by law.
 E. Protection of Group Health Insurance Benefits
 During FMLA leave, eligible team members are entitled to receive group health plan coverage on the
 same terms and conditions as if they had continued to work.
 F. Restoration of Employment and Benefits
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 At the end of FMLA leave, subject to some exceptions including situations where job restoration of
 "key team members" will cause the Company substantial and grievous economic injury, team
 members generally have a right to return to the same or equivalent positions with equivalent pay,
 benefits and other employment terms. The Company will notify team members if they qualify as "key
 team members," if it intends to deny reinstatement, and of their rights in such instances. Use of
 FMLA leave will not result in the loss of any employment benefit that accrued prior to the start of an
 eligible team member's FMLA leave.
 G. Notice of Eligibility for, and Designation of, FMLA Leave
 Team members requesting FMLA leave are entitled to receive written notice from the Company
 telling them whether they are eligible for FMLA leave and, if not eligible, the reasons why they are
 not eligible. When eligible for FMLA leave, team members are entitled to receive written notice of: 1)
 their rights and responsibilities in connection with such leave; 2) Company's designation of leave as
 FMLA-qualifying or non-qualifying, and if not FMLA-qualifying, the reasons why; and 3) the amount
 of leave, if known, that will be counted against the team member's leave entitlement.
 The Company may retroactively designate leave as FMLA leave with appropriate written notice to
 team members provided the Company's failure to designate leave as FMLA-qualifying at an earlier
 date did not cause harm or injury to the team member. In all cases where leaves qualify for FMLA
 protection, the Company and team member can mutually agree that leave be retroactively
 designated as FMLA leave.
 Ill. Team member FMLA Leave Obligations
 A. Provide Notice of the Need for Leave
 Team members who take FMLA leave must timely notify the Company of their need for FMLA leave.
 The following describes the content and timing of such team member notices.
 1. Content of Team member Notice
 To trigger FMLA leave protections, team members must inform Benefits Manager of the need for
 FMLA-qualifying leave and the anticipated timing and duration of the leave, if known. Team members
 may do this by either requesting FMLA leave specifically, or explaining the reasons for leave so as to
 allow the Company to determine that the leave is FMLA-qualifying. For example, team members
 might explain that:

     • a medical condition renders them unable to perform the functions of their job;
     • they are pregnant or have been hospitalized overnight;
     • they or a covered family member are under the continuing care of a health care provider;
     • the leave is due to a qualifying exigency caused by a military member being on covered active
       duty or called to covered active duty status to a foreign country; or
     • if the leave is for a family member, that the condition renders the family member unable to
       perform daily activities or that the family member is a covered servicemember with a serious
       injury or illness.


 Calling in "sick," without providing the reasons for the needed leave, will not be considered sufficient
 notice for FMLA leave under this policy. Team members must respond to the Company's questions
 to determine if absences are potentially FMLA-qualifying.
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 If team members fail to explain the reasons for FMLA leave, the leave may be denied. When team
 members seek leave due to FMLA-qualifying reasons for which the Company has previously
 provided FMLA-protected leave, they must specifically reference the qualifying reason for the leave
 or the need for FMLA leave.
 2. Timing of Team member Notice
 Team members must provide 30 days' advance notice of the need to take FMLA leave when the
 need is foreseeable. When 30 days' notice is not possible, or the approximate timing of the need for
 leave is not foreseeable, team members must provide the Company notice of the need for leave as
 soon as practicable under the facts and circumstances of the particular case. Team members who
 fail to give 30 days' notice for foreseeable leave without a reasonable excuse for the delay, or
 otherwise fail to satisfy FMLA notice obligations, may have FMLA leave delayed or denied.
 B. Cooperate In the Scheduling of Planned Medical Treatment (Including Accepting Transfers
 to Alternative Positions) and Intermittent Leave or Reduced Leave Schedules

 When planning medical treatment, team members must consult with the Company and make a
 reasonable effort to schedule treatment so as not to unduly disrupt the Company's operations,
 subject to the approval of the team member's health care provider. Team members must consult with
 the Company prior to the scheduling of treatment to work out a treatment schedule that best suits the
 needs of both the Company and the team members, subject to the approval of the team member's
 health care provider . If team members providing notice of the need to take FMLA leave on an
 intermittent basis for planned medical treatment neglect to fulfill this obligation, the Company may
 require team members to attempt to make such arrangements, subject to the approval of the team
 member's health care provider.
 When team members take intermittent or reduced work schedule leave for foreseeable planned
 medical treatment for the team member or a family member, including during a period of recovery
 from a serious health condition or to care for a covered servicemember, the Company may
 temporarily transfer team members, during the period that the intermittent or reduced leave
 schedules are required, to alternative positions with equivalent pay and benefits for which the team
 members are qualified and which better accommodate recurring periods of leave.
 When team members seek intermittent leave or a reduced leave schedule for reasons unrelated to
 the planning of medical treatment, upon request, team members must advise the Company of the
 reason why such leave is medically necessary. In such instances, the Company and team member
 shall attempt to work out a leave schedule that meets the team member's needs without unduly
 disrupting the Company's operations, subject to the approval of the team member's health care
 provider.
 C. Submit Medical Certifications Supporting Need for FMLA Leave (Unrelated to Requests for
 Military Family Leave)
 Depending on the nature of FMLA leave sought, team members may be required to submit medical
 certifications supporting their need for FMLA-qualifying leave. As described below, there generally
 are three types of FMLA medical certifications: an initial certiflcation,arecertificatlon and a return to
 work/fitness for duty certification.
 It is the team member's responsibility to provide the Company with timely, complete and sufficient

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 medical certifications. Whenever the Company requests team members to provide FMLA medical
 certifications, team members must provide the requested certifications within 15 calendar days after
 the Company's request, unless it is not practicable to do so despite the team member's diligent, good
 faith efforts. The Company will inform team members if submitted medical certifications are
 incomplete or insufficient and provide team members at least seven calendar days to cure
 deficiencies. The Company will deny FMLA leave to team members who fail to timely cure
 deficiencies or otherwise fail to timely submit requested medical certifications.
 With the team member's permission, the Company (through individuals other than the team
 member's direct supervisor) may contact the team member's health care provider to authenticate or
 clarify completed and sufficient medical certifications. If team members choose not to provide the
 Company with authorization allowing it to clarify or authenticate certifications with health care
 providers, the Company may deny FMLA leave if certifications are unclear.
 Whenever the Company deems it appropriate to do so, it may waive its right to receive timely,
 complete and/or sufficient FMLA medical certifications.
 1. Initial Medical Certifications
 Team members requesting leave because of their own, or a covered relation's, serious health
 condition, or to care for a covered servicemember, must supply medical certification supporting the
 need for such leave from their health care provider or, if applicable, the health care provider of their
 covered family or service member. If team members provide at least 30 days' notice of medical
 leave, they should submit the medical certification before leave begins. A new initial medical
 certification will be required on an annual basis for serious medical conditions lasting beyond a single
 leave year.
 If the Company has reason to doubt initial medical certifications, ii may require team members to
 obtain a second opinion at the Company's expense. If the opinions of the initial and second health
 care providers differ, the Company may, at its expense, require team members to obtain a third, final
 and binding certification from a health care provider designated or approved jointly by the Company
 and the team member.
 2. Medical Recertifications
 Depending on the circumstances and duration of FMLA leave, the Company may require team
 members to provide recertification of medical conditions giving rise to the need for leave. The
 Company will notify team members if recertification is required and will give team members at least
 15 calendar days to provide medical recertification.
 3. Return to Work/Fitness for Duty Medical CertHlcatlons
 Unless notified that providing such certifications is not necessary, team members returning to work
 from FMLA leaves that were taken because of their own serious health conditions that made them
 unable to perform their jobs must provide the Company with medical certification confirming they are
 able to return to work and the team members' ability to perform the essential functions of the team
 members' position, with or without reasonable accommodation. The Company may delay and/or
 deny job restoration until team members provide return to work/fitness for duty certifications.
 D. Submit Certifications Supporting Need for Military Family Leave
 Upon request, the first time team members seek leave due to qualifying exigencies arising out of the
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 covered active duty or call to covered active duty status of a military member, the Company may
 require team members to provide: 1) a copy of the military member's active duty orders or other
 documentation issued by the military indicating the military member is on covered active duty or call
 to covered active duty status and the dates of the military member's covered active duty service; and
 2) a certification from the team member setting forth information concerning the nature of the
 qualifying exigency for which leave is requested. Team members shall provide a copy of new active
 duty orders or other documentation issued by the military for leaves arising out of qualifying
 exigencies arising out of a different covered active duty or call to covered active duty status of the
 same or a different military member.

 When leave is taken to care for a covered servicemember with a serious injury or illness, the
 Company may require team members to obtain certifications completed by an authorized health care
 provider of the covered servicemember. In addition, and in accordance with the FMLA regulations,
 the Company may request that the certification submitted by team members set forth additional
 information provided by the team member and/or the covered servicemember confirming entitlement
 to such leave.
 E. Substitute Paid Leave for Unpaid FMLA Leave
 Team members must use any accrued paid time while taking unpaid FMLA leave.
 The substitution of paid lime for unpaid FMLA leave time does not extend the length of FMLA leave
 and the paid time will run concurrently with the team member's FMLA entitlement.
 Leaves of absence taken in connection with a disability leave plan or workers' compensation
 injury/illness shall run concurrently with any FMLA leave entitlement. Upon written request, the
 Company will allow team members to use accrued paid time to supplement any paid disability
 benefits.
 F. Pay Team member's Share of Health Insurance Premiums
 During FMLA leave, team members are entitled to continued group health plan coverage under the
 same conditions as if they had continued to work. Unless the Company notifies team members of
 other arrangements, whenever team members are receiving pay from the Company during FMLA
 leave, the Company will deduct the team member portion of the group health plan premium from the
 team member's paycheck in the same manner as if the team member was actively working.
 If FMLA leave is unpaid, team members must pay their portion of the group health premium through
 a "pay-as-you-go" method.

 The Company's obligation to maintain health care coverage ceases if the team member's premium
 payment is more than 30 days late. If the team member's payment is more than 15 days late, the
 Company will send a letter notifying the team member that coverage will be dropped on a specified
 date unless the co-payment is received before that date. If team members do not return to work
 within 30 calendar days at the end of the leave period (unless team members cannot return to work
 because of a serious health condition or other circumstances beyond their control), they will be
 required to reimburse the Company for the cost of the premiums the Company paid for maintaining
 coverage during their unpaid FMLA leave.
 IV. Questions and/or Complalnts about FMLA Leave

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 If you have questions regarding this FMLA policy, please contact Benefits Manager. The Company is
 committed to complying with the FMLA and, whenever necessary, shall interpret and apply this
 policy in a manner consistent with the FMLA.
 The FMLA makes it unlawful for employers to: 1) interfere with, restrain or deny the exercise of any
 right provided under FMLA; or 2) discharge or discriminate against any person for opposing any
 practice made unlawful by FMLA or involvement in any proceeding under or relating to FMLA. If
 team members believe their FMLA rights have been violated, they should contact Benefits Manager
 immediately. The Company will investigate any FMLA complaints and take prompt and appropriate
 remedial action to address and/or remedy any FMLA violation. Team members also may file FMLA
 complaints with the United States Department of Labor or may bring private lawsuits alleging FMLA
 violations.
 V. Coordination of FMLA Leave with Other Leave Pollcles
 The FMLA does not affect any federal, state or local law prohibiting discrimination, or supersede any
 State or local law that provides greater family or medical leave rights. For additional information
 concerning leave entitlements and obligations that might arise when FMLA leave is either not
 available or exhausted, please consult the Company's other leave policies in this handbook or
 contact Benefits Manager.




 Bone Marrow Donation Leave

 The team member who has been employed for at least 90 days may request a leave of absence for
 up to live (5) business days in any one-year period to undergo a medical procedure to donate bone
 marrow. Team members must provide a certification from their physician regarding the purpose and
 length of each leave requested. The team member must use any accrued vacation time, sick leave
 or paid time off for this leave, but the use of vacation accrual, sick leave or paid time off does not
 extend the term of this leave. If accrued vacation, sick leave or paid time off is not available, the time
 off for such procedure shall be paid, but the paid time off shall not exceed five (5) days. Bone
 marrow donation leave will not be designated as FMLA (or CFRA) leave time. Team members will
 receive health benefits for the duration of their Bone Marrow Donation Leave and upon returning
 from such leave will have a right to return to the same or equivalent positions they held before such
 leave.
 Organ Donation Leave
 Team members who have been employed for at least 90 days may request a paid leave of absence
 for up to 30 business days in any one-year period to undergo a medical procedure to donate an
 organ. Team members can request an additional 30 days of unpaid leave in any one-year period for
 this same purpose. Team members must provide a certification from their physician regarding the
 purpose and length of each leave requested. The one-year period is measured from the start of the
 leave.
 For an initial request for organ donation leave, the team member must use up to two weeks of
 accrued vacation, sick leave or paid time off for this leave, but the use of vacation accrual, sick leave
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 or paid time off does not extend the term of the leave. If accrued vacation, sick leave or paid time off
 is not available, the time off for such procedure shall be paid however the paid time off shall not
 exceed 30 days. Organ donation leave will not be designated as FMLA (or CFRA) leave time. Team
 members upon returning from such leave will have a right to return to the same or equivalent
 positions they held before such leave. Absences due to organ donation leave do not count as a
 break in service for the purpose of the team member's right to salary adjustments, sick leave,
 vacation and paid time off or seniority.




 Tearn members who are victims of domestic violence, sexual assault or stalking or who have a
 family or household member who is a victim of domestic violence, sexual assault or stalking, may
 take up to eight (8) workweeks of unpaid leave in a 12-month period. For purposes of this policy,
 "family or household members" include spouses or persons who have been spouses, persons living
 as spouses or who lived as spouses, parents and children, other persons related by consanguinity or
 affinity, current or former sexual or intimate partners, persons who share biological parenthood or
 "Life Partners".
 Leave under this policy may be taken to:

    1. seek medical attention for, or recovering from, physical or psychological injuries caused by
       domestic violence, sexual assault or stalking to the team member or the team member's family
       or household member;
    2. obtain services from a victim services organization for the team member or the team
       member's family or household member;
    3. obtain psychological or other counseling for the team member or the team member's family or
       household member;
    4. participate in safety planning, temporarily or permanently relocating or taking other actions to
       increase the safety of the team member or the team member's family or household member
       from future domestic violence, sexual assault or stalking or to ensure economic security; or
    5. seek legal assistance or remedies to ensure the health and safety of the team member or the
       team member's family or household member, including preparing for or participating in any
       civil or criminal legal proceeding related to or derived from domestic violence, sexual assault
       or stalking.


 Leave may be taken intermittently or on a reduced work schedule.
 Team members must provide at least 48 hours' advance notice of their intention to take leave under
 this policy, unless providing such notice is not practicable. The Company may require certification
 verifying that the team member or their family or household member is a victim of domestic violence,
 sexual assault or stalking and the leave is a qualifying purpose. Team members can satisfy the
 certification requirement by providing a sworn statement and any of the following:

     • documentation from the team member, agent or volunteer of a victim services organization, an
       attorney, a member of the clergy or a medical or other professional from whom the team
       member or the team member's family or household member has sought assistance in
       addressing domestic violence, sexual assault or stalking or the effects of the violence;
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     • a police or court record; or
     • other corroborating evidence.


 Team members who fail to provide this certification within 45 days of the Company's request may be
 subject to disciplinary action.

 Any information provided by the team member pursuant to this policy will be kept confidential unless
 disclosure is requested or consented to in writing by the team member or otherwise required by
 applicable federal, state or local law.
 During an approved leave, the Company will maintain the team member's health benefits as if the
 team member continued to be actively employed. However, if the team member fails to return from
 leave after the leave entitlement has expired, and the reason for the failure to return is unrelated to
 the continuation, recurrence or onset of domestic violence, sexual assault or stalking, the Company
 may recover from the team member the premium it paid to maintain the team member's coverage
 during the period of leave.
 Team members may substitute any accrued paid time off for the unpaid leave provided under this
 policy, but substitution does not extend the length of the leave. Leave under this policy will run
 concurrently with leave under applicable federal, state, or local laws to the maximum extent
 permitted under such applicable law.

 Team members who take leave under this policy will be returned to the position they held at the time
 when the leave commenced, or to a position with equivalent benefits, pay and other terms and
 conditions of employment.
 Team members with questions or concerns regarding this policy can contact Benefits Manager.

  4-9. Leave for   ~d'
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 Arch Amenities Group will grant team members who are parents, guardians, aunts, uncles,
 grandparents or step-parents of school-age children up to 24 hours of unpaid leave during any 12-
 month period to attend or participate in a school-related event in which the team member's child is a
 participant or a subject. When possible, 10 days' advance notice is required. Team members may
 use accrued paid time off for this purpose. Leave may be denied if it would unduly disrupt the
 Company's business.
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 4-10. Family MIiitary Leave                                                                    • .:~ .r
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 Family Military Leave (employers with 50 or more employees)
 Eligible employees may take up to ten (10) days (or 80 hours, if less) of unpaid leave when a
 spouse, child, or person the employee has or had legal custody of is a member of the uniformed
 services and is called into active duty for a period longer than 30 days, or is injured, wounded, or
 hospitalized while serving on active duty. The uniformed services includes: the U.S. armed forces;
 the Ohio organized militia when engaged in full-time national guard duty; the commissioned corps of
 the public health service; and any other category of persons designated by the U.S. President in time
 of war or emergency. Leave must occur no more than 2 weeks before or 1 week after the
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 deployment date.

 To be eligible, the employee must have worked for the employer at least 12 consecutive months, and
 must have worked at least 1,250 hours in the 12 months immediately preceding commencement of
 the leave.
 An employee may take unpaid leave under this section if he/she has exhausted all accrued vacation
 and other leave (except sick leave and disability leave). Benefits will continue during this time, and
 the employee will remain responsible for paying their portion of the cost of benefits.
 14 days' notice must be provided by the employee of his or her intention to take leave if the leave is
 taken because of a call to active duty, or at least 2 days prior to taking leave if due to an injury,
 wound, or hospitalization. However, if the employee receives notice from a uniformed services
 representative that the injury, wound, or hospitalization is critical or life-threatening, leave may be
 taken without providing notice. Employees may be required to provide the Company with certification
 from the proper military authority to verify the employee's eligibility for family military leave.
 Upon expiration of the leave, an employee will generally be reinstated to his or her position or, if not
 available, an equivalent position with equivalent employment benefits, pay and other terms and
 conditions of employment. The Company strictly prohibits any form of discrimination or retaliation for
 exercising rights set forth in this policy.




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  Section 5 • General Standards of Conduct

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 5,.1. Workplace Conduct                                                                           . 7 ;,

 Arch Amenities Group endeavors to maintain a positive work environment. Each team member plays
 a role in fostering this environment. Accordingly, we all must abide by certain rules of conduct, based
 on honesty, common sense and fair play.
 Because everyone may not have the same idea about proper workplace conduct, it is helpful to
 adopt and enforce rules all can follow. Unacceptable conduct may subject the offender to disciplinary
 action, up to and including discharge, in the Company's sole discretion. The following are examples
 of some, but not all, conduct which can be considered unacceptable:

    1. Obtaining employment on the basis of false or misleading information.
    2. Stealing, removing or defacing Arch Amenities Group property or a co-worker's property,
       and/or disclosure of confidential information.
    3. Completing another team member's time records.
    4. Violation of safety rules and policies.
    5. Violation of Arch Amenities Group's Drug and Alcohol-Free Workplace Policy.
    6. Fighting, threatening or disrupting the work of others or other violations of Arch Amenities
       Group's Workplace Violence Policy.
    7. Failure to follow lawful instructions of a supervisor.
    8. Failure to perform assigned job duties.
    9. Violation of the Punctuality and Attendance Policy, including but not limited to irregular
       attendance, habitual lateness or unexcused absences.
   10. Gambling on Company property.
   11. Willful or careless destruction or damage to Company assets or to the equipment or
       possessions of another team member.
   12. Wasting work materials.
   13. Performing work of a personal nature during working time.
   14. Violation of the Solicitation and Distribution Policy.
   15. Violation of Arch Amenities Group's Harassment or Equal Employment Opportunity Policies.
   16. Violation of the Communication and Computer Systems Policy.
   17. Unsatisfactory job performance.
   18. Any other violation of Arch Amenities Group policy.


 Obviously, not every type of misconduct can be listed. Note that all team members are employed at-
 will, and Arch Amenities Group reserves the right to impose whatever discipline it chooses, or none
 at all, in a particular instance. The Company will deal with each situation individually and nothing in
 this handbook should be construed as a promise of specific treatment in a given situation. However,
 Arch Amenities Group will endeavor to utilize progressive discipline but reserves the right in its sole
 discretion to terminate the team member at any time for any reason.
 The observance of these rules will help to ensure that our workplace remains a safe and desirable
 place to work.
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 5-2. Punctuality and Attendance                                                                          ..

 Team members are responsible for good attendance and punctuality. Absenteeism and tardiness
 are expensive and disruptive and place an unfair burden on other team members. It is therefore
 necessary to be at work on time every day and to stay until the scheduled departure time. "Clocking
 in" cannot occur more than 1O minutes prior to the scheduled start time unless approved by the
 manager. Team members are expected to make the necessary arrangements for their transportation
 and other personal situations which allow them to arrive on time. Excessive tardiness and
 absenteeism can lead to disciplinary action, which may include termination of employment.

 From time to time, it may be necessary for a team member to be late or absent from work. We are
 aware that illnesses or emergencies may arise which cause an unplanned absence or tardiness. It is
 the responsibility of the team member to contact their manager by phone (no texting) as early as
 possible, at least two hours in advance of the shift start, if they will be absent or late. Providing notice
 of absence after the start of a scheduled shift will be considered a "no show" violation.

 If a situation arises which makes it impossible for the team member to report to work, the team
 member should attempt to get a substitute for the shift and contact their manager. If the team
 member is unable to reach the manager, they should call the facility's reception desk and leave a
 message. This message should include:

 . Name and department
 . Scheduled work shift
 . Reason for absence
 . Expected date/time to return to work
 . A contact phone number

 Except in cases of emergency, reporting of an absence by friends, relatives or co-workers is not
 appropriate and will not accepted. A doctor's certificate may be required for an absence of three (3)
 days or more due to illness.

 Absence from work for two (2) consecutive scheduled workdays without notifying the Manager will be
 considered a voluntary resignation, and the processing of the team member's termination may
 occur summarily at such time.

 Team members must promptly vacate the facility upon the end of their shift. Team members may not
 loiter at the facility before or after their shift and may not patronize the facility during off-hours without
 first getting approval from their manager.

 Any available PTO must be used before unpaid time is considered.




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 Arch Amenities Group's communication and computer systems are intended primarily for business
 purposes; however limited personal usage is permitted if it does not hinder performance of job duties
 or violate any other Company policy. This includes the voice mail, e-mail and Internet systems.
 Users have no legitimate expectation of privacy in regard to their use of the Arch Amenities Group
 systems.
 Arch Amenities Group may access the voice mail and e-mail systems and obtain the
 communications within the systems, including past voice mail and e-mail messages, without notice to
 users of the system, in the ordinary course of business when the Company deems it appropriate to
 do so. The reasons for which the Company may obtain such access include, but are not limited to:
 maintaining the system; preventing or investigating allegations of system abuse or misuse; assuring
 compliance with software copyright laws; complying with legal and regulatory requests for
 information; and ensuring that Company operations continue appropriately during the team
 member's absence.
 Further, Arch Amenities Group may review Internet usage to ensure that such use with Company
 property, or communications sent via the Internet with Company property, are appropriate. The
 reasons for which the Company may review team members' use of the Internet with Company
 property include, but are not limited to: maintaining the system; preventing or investigating
 allegations of system abuse or misuse; assuring compliance with software copyright laws; complying
 with legal and regulatory requests for information; and ensuring that Company operations continue
 appropriately during the team member's absence.
 The Company may store electronic communications for a period of time after the communication is
 created. From time to time, copies of communications may be deleted.
 The Company's policies prohibiting harassment, in their entirety, apply to the use of Company's
 communication and computer systems. No one may use any communication or computer system in
 a manner that may be construed by others as harassing or offensive based on race, national origin,
 sex, sexual orientation, age, disability, religious beliefs or any other characteristic protected by
 federal, state or local law.
 Further, since the Company's communication and computer systems are intended for business use,
 all team members, upon request, must inform management of any private access codes or
 passwords.
 Unauthorized duplication of copyrighted computer software violates the law and is strictly prohibited.
 No team member may access, or attempt to obtain access to, another team member's computer
 systems without appropriate authorization.
 Violators of this policy may be subject to disciplinary action, up to and including discharge.




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 Arch Amenities Group respects the right of any team member to maintain a blog or web page or to
 participate in a social networking, Twitter or similar site, including but not limited to Facebook and
 Linkedln. However, to protect Company interests and ensure team members focus on their job
 duties, team members must adhere to the following rules:
 Team members may not post on a blog or web page or participate on a social networking platform,
 such as Twitter or similar site, during work time or at any time with Company equipment or property.
 All rules regarding confidential and proprietary business information apply in full to biogs, web pages
 and social networking platforms, such as Twitter, Facebook, Linkedln or similar sites. Any
 information that cannot be disclosed through a conversation, a note or an e-mail also cannot be
 disclosed in a blog, web page or social networking site.
 Whether the team members are posting something on their own blog, web page, social networking,
 Twitter or similar site or on someone else's, the team member should not mention the Company
 along with a political opinion or an opinion regarding the Company's actions (or clients) that could
 pose an actual or potential conflict of interest with the Company. At all times, the poster should
 specifically state that any opinion expressed is his/her personal opinion and not the Company's
 position. This is necessary to preserve the Company's good will in the marketplace.
 Any conduct that is impermissible under the law if expressed in any other form or forum is
 impermissible if expressed through a blog, web page, social networking, Twitter or similar site. For
 example, posted material that is discriminatory, obscene, defamatory, libelous or violent is forbidden.
 Company policies apply equally to team member social media usage.
 Arch Amenities Group encourages all team members to keep in mind the speed and manner in
 which information posted on a blog, web page, and/or social networking site is received and often
 misunderstood by readers. Team members must use their best judgment. Team members with any
 questions should review the guidelines above and/or consult with their manager. Failure to follow
 these guidelines may result in discipline, up to and including discharge.




 Arch Amenities Group-provided portable communication devices (PCDs), including cell phones
 and tablets, should be used primarily for business purposes. Team members have no reasonable
 expectation of privacy in regard to the use of such devices, and all use is subject to monitoring, to
 the maximum extent permitted by applicable law. This includes, as permitted, the right to monitor
 personal communications as necessary.
 Some team members may be authorized to use their own PCD for business purposes. These team
 members should work with the IT department to configure their PCD for business use.
 Communications sent via a personal PCD also may subject to monitoring if sent through the
 Company's networks and the PCD may need to be provided for review upon request.
 All conversations, text messages and e-mails must be professional. When sending a text message
 or using a PCD for business purposes, whether it is a Company-provided or personal device, team
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 members must comply with applicable Company guidelines, including policies on sexual
 harassment, discrimination, conduct, confidentiality, equipment use and operation of vehicles. Using
 a Company-issued PCD to send or receive personal text messages is prohibited at all times and
 personal use during working hours should be limited to emergency situations.
 If team members who use a personal PCD for business resign or are discharged, it may be
 necessary to submit the device to the IT department for resetting on or before their last day of work.
 At that time, the IT department will reset and remove Company information from the device. The IT
 department will make efforts to provide team members with the personal data in another form (e.g.,
 on a disk) to the extent practicable; however, the team member may lose some or all personal data
 saved on the device.
 Please note that whether team members use their personal PCD or a Company-issued device, the
 Company's electronic communications policies, including but not limited to, proper use of
 communications and computer systems, remain in effect.
 Portable Communication Device Use Whlle Driving
 Team members who drive on Company business must abide by all state or local laws prohibiting or
 limiting PCD (cell phone or personal digital assistant) use while driving. Further, even if usage is
 permitted, team members should refrain from using any PCD while driving. "Use" includes, but is not
 limited to, talking or listening to another person or sending an electronic or text message via the
 PCD.
 Regardless of the circumstances, including slow or stopped traffic, if any use is permitted while
 driving, team members should proceed to a safe location off the road and safely stop the vehicle
 before placing or accepting a call. If acceptance of a call is absolutely necessary while driving, and
 permitted by law, team members must use a hands-free option and advise the caller that they are
 unable to speak at that time and will return the call shortly.
 Under no circumstances should team members place themselves at risk to fulfill business needs.
 Since this policy discourages and does not require any team member to use a cell phone while
 driving, team members who are charged with traffic violations resulting from the use of their PCDs
 while driving will be solely responsible for all liabilities that result from such actions.
 Texting and e-mailing while driving is prohibited in all circumstances.




 Arch Amenities Group reserves the right to require team members while on Company property, or on
 client property, to submit to the reasonable inspection of their persons, personal possessions and
 property, personal vehicles parked on Company or client property, and work areas. This includes
 lockers, vehicles, desks, cabinets, work stations, packages, handbags, briefcases and other
 personal possessions or places of concealment, as well as personal mail sent to the Company or to
 its clients. Team members are expected to cooperate in the conduct of any search or inspection.




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 No smoking, vaping, or tobacco use of any kind is permitted inside any Company facility. Smoking
 activities may take place only in designated areas outside of the facility or as required by state or
 local laws.




 Disruptions during work time can lead to errors and delays. Therefore, personal telephone calls must
 be kept to a minimum, and only be made or received after working time, or during lunch or break
 time.

 For safety and security reasons, team members are prohibited from having personal guests visit or
 accompanying them anywhere in Arch Amenities Group facilities other than the reception areas.
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 To avoid distractions, solicitation by the team member of another team member is prohibited while
 either team member is on work time. "Work time" is defined as the time the team member is
 engaged, or should be engaged, in performing their work tasks for Arch Amenities Group. Solicitation
 of any kind by non-team members on Company premises is prohibited at all times.
 Distribution of advertising material, handbills, printed or written literature of any kind in working areas
 of the Company is prohibited at all times. Distribution of literature by non-team members on
 Company premises is prohibited at all times.

  5-10. Bulletin Boards          .
                                                                       ..•
 Important notices and items of general interest are continually posted on Arch Amenities Group
 bulletin boards. Team members should make it a practice to review bulletin boards frequently. This
 will assist team members in keeping up with what is current at Arch Amenities Group. To avoid
 confusion, team members should not post or remove any material from the bulletin board.




 During the course of work, team members may become aware of confidential information about Arch
 Amenities Group's business, including but not limited to information regarding Company finances,
 pricing, products and new product development, software and computer programs, marketing
 strategies, suppliers and customers and potential customers. Team members also may become
 aware of similar confidential information belonging to the Company's clients. It is extremely important
 that all such information remain confidential, and particularly not be disclosed to Arch Amenities
 Group's competitors. Any team member who improperly copies, removes (whether physically or
 electronically), uses or discloses confidential information to anyone outside of the Company may be
 subject to disciplinary action up to and including termination. Team members may be required to sign
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 an agreement reiterating these obligations.
                                                                              '.   '
  5-12. Conflict of Interest and Business Ethics

 It is Arch Amenities Group's policy that all team members avoid any conflict between their personal
 interests and those of the Company. The purpose of this policy is to ensure that the Company's
 honesty and integrity, and therefore its reputation, are not compromised. The fundamental principle
 guiding this policy is that no team member should have, or appear to have, personal interests or
 relationships that actually or potentially conflict with the best interests of the Company,
 It is not possible to give an exhaustive list of situations that might involve violations of this policy,
 However, the situations that would constitute a conflict in most cases include but are not limited to:

    1. holding an interest in or accepting free or discounted goods from any organization that does,
       or is seeking to do, business with the Company, by any team member who is in a position to
       directly or indirectly influence either the Company's decision to do business, or the terms upon
       which business would be done with such organization;
    2. holding any interest in an organization that competes with the Company;
    3. being employed by (including as a consultant) or serving on the board of any organization
       which does, or is seeking to do, business with the Company or which competes with the
       Company; and/or
    4. profiting personally, e.g., through commissions, loans, expense reimbursements or other
       payments, from any organization seeking to do business with the Company.


 A conflict of interest would also exist when a member of the team member's immediate family is
 involved in situations such as those above.
 This policy is not intended to prohibit the acceptance of modest courtesies, openly given and
 accepted as part of the usual business amenities, for example, occasional business-related meals or
 promotional items of nominal or minor value.
 It is the team member's responsibility to report any actual or potential conflict that may exist between
 the team member (and the team member's immediate family) and the Company.




 Equipment essential in accomplishing job duties is often expensive and may be difficult to replace,
 When using property, team members are expected to exercise care, perform required maintenance,
 and follow all operating instructions, safety standards and guidelines.
 Team members should notify their supervisor if any equipment, machines, or tools appear to be
 damaged, defective or in need of repair. Prompt reporting of loss, damages, defects and the need for
 repairs could prevent deterioration of equipment and possible injury to team members or others.
 Supervisors can answer any questions about the team members' responsibility for maintenance and
 care of equipment used on the job.
 Team members also are prohibited from any unauthorized use of the Company's intellectual

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 property, such as audio and video tapes, print materials and software.

 Improper, careless, negligent, destructive, or unsafe use or operation of equipment can result in
 discipline, up to and including discharge.

 Further, the Company is not responsible for any damage to team members' personal belongings
 unless the team member's supervisor expressly requested for the team member to bring the
 personal property to work for work purposes.




 The health and safety of team members and others on Company property are of critical concern to
 Arch Amenities Group. The Company intends to comply with all health and safety laws applicable to
 our business. To this end, we must rely upon team members to ensure that work areas are kept safe
 and free of hazardous conditions. Team members are required to be conscientious about workplace
 safety, including proper operating methods, and recognize dangerous conditions or hazards. Any
 unsafe conditions or potential hazards should be reported to management immediately, even if the
 problem appears to be corrected. Any suspicion of a concealed danger present on the Company's
 premises, or in a product, facility, piece of equipment, process or business practice for which the
 Company is responsible should be brought to the attention of management immediately.
 Periodically, the Company may issue rules and guidelines governing workplace safety and health.
 The Company may also issue rules and guidelines regarding the handling and disposal of hazardous
 substances and waste. All team members should familiarize themselves with these rules and
 guidelines, as strict compliance will be expected.
 Any workplace injury, accident, or illness must be reported to the team member's supervisor as soon
 as possible, regardless of the severity of the injury or accident.

 $:-1 S. Hiring RelaU                 Rela1lonehiR'J,                           ,,               ,

 A familial relationship among team members can create an actual, potential or apparent conflict of
 interest in the employment setting, especially where one relative supervises another relative. To
 avoid this problem, Arch Amenities Group may refuse to hire or place a relative in a position where
 the potential for favoritism or conflict exists.
 In other cases, such as personal relationships where a conflict or the potential for conflict arises,
 even if there is no supervisory relationship involved, the parties may be separated by reassignment
 or discharged from employment, at the discretion of the Company. Accordingly, all parties to any
 type of intimate personal relationship must inform management.
 If two team members marry, become related, or enter into an intimate relationship, they may not
 remain in a reporting relationship or in positions where one individual may affect the compensation or
 other terms or conditions of employment of the other individual. The Company generally will attempt
 to identify other available positions, but if no alternate position is available, the Company retains the
 right to decide which team member will remain with the Company.
 For the purposes of this policy, a relative is any person who is related by blood or marriage, or
 whose relationship with the team member is similar to that of persons who are related by blood or
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 marriage.

  S.16. Employee Dress and Pe             Appearance                                                              '     -

 Dress, grooming, and personal cleanliness standards contribute to the morale of all team members
 and affect the business image that we present to guests and clients. Team members are expected to
 present a clean and professional appearance while conducting business, in or outside of the
 workplace. Dressing in a fashion that is clearly unprofessional, that is deemed unsafe, or that
 negatively affects our reputation or image is not acceptable. Specific dress codes may be
 established for each facility which may include, but not be limited to a uniform shirt and name tag.

 A team member's manager or department head is responsible for establishing a reasonable dress
 code appropriate to the team member's position. If the manager determines the team member's
 personal appearance to be inappropriate, the team member may be asked to leave the workplace
 until they are properly dressed or groomed. Under such circumstance, the team member will not be
 compensated for the time away from work, to the extent permitted by applicable law. Team
 members should consult with their manager if they have any questions as to what constitutes
 appropriate appearance. Where necessary, reasonable accommodations may be made for team
 members with a disability or a religious requirement.

 In corporate office settings, or while attending internal company video meetings, attire is professional
 business casual. Clothing items which are not considered professional, and therefore prohibited,
 include ripped denim, shorts, logo T-shirts, sneakers, sweats, halter tops, or other non-professional
 items. Client meetings may call for more formal attire, such as a suit.




 All media inquiries regarding the position of the Company as to any issues must be referred to Chief
 Marketing Officer. Only Chief Marketing Officer is authorized to make or approve public statements
 on behalf of the Company. No team members, unless specifically designated by Chief Marketing
 Officer, are authorized to make those statements on behalf of Company. Any team member wishing
 to write and/or publish an article, paper, or other publication on behalf of the Company must first
 obtain approval from Chief Marketing Officer.
                                                                                                «   ,-       ';         '

 S.18. Operation of Vehicles                                                        ,                                 , ,,
                                                                                t       "   "            '                   /




 All team members authorized to drive Company-owned or leased vehicles or personal vehicles in
 conducting Company business must possess a current, valid driver's license and an acceptable
 driving record. Any change in license status or driving record must be reported to management
 immediately.
 Team members must have a valid driver's license in their possession while operating a vehicle off or
 on Company property. It is the responsibility of every team member to drive safely and obey all
 traffic, vehicle safety, and parking laws or regulations. Drivers must demonstrate safe driving habits
 at all times.

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 Company-owned or leased vehicles may be used only as authorized by management.
 Portable Communication Device Use While Driving
 Team members who drive on Company business must abide by all state or local laws prohibiting or
 limiting portable communication device (PCD) use, including cell phones or personal digital
 assistants, while driving. Further, even if use is permitted, team members should refrain from using
 any PCD while driving. "Use" includes, but is not limited to, talking or listening to another person or
 sending an electronic or text message via the PCD.
 Regardless of the circumstances, including slow or stopped traffic, if any use is permitted while
 driving, team members should proceed to a safe location off the road and safely stop the vehicle
 before placing or accepting a call. If acceptance of a call is absolutely necessary while the team
 members are driving, and permitted by law, they must use a hands-free option and advise the caller
 that they are unable to speak at that time and will return the call shortly.
 Under no circumstances should team members place themselves at risk to fulfill business needs.
 Since this policy discourages and does not require any team member to use a PCD while driving,
 team members who are charged with traffic violations resulting from the use of their PCDs while
 driving will be solely responsible for all liabilities that result from such actions.
 Texting and e-mailing while driving is prohibited in all circumstances.
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 5-19. Business Expense Reimbursement                                          •   ' '
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 Team members will be reimbursed for reasonable approved expenses incurred in the course of
 business. These expenses must be approved by the team member's Supervisor, and may include air
 travel, hotels, motels, meals, cab fare, rental vehicles, or gas and car mileage for personal vehicles.
 All expenses should be purchased via a company-issued American Express card (versus personal
 credit card) and expenses incurred submitted via the Concur travel and expense system, along with
 the receipts, in a timely manner.
 Team members are expected to exercise restraint and good judgment when incurring expenses.
 Team members should contact their Supervisor in advance if they have any questions about whether
 an expense will be reimbursed.
 The Company will not reimburse team members for any expenses that are not required or that
 primarily benefit team members, rather than the Company. This includes, but is not limited to,
 expenses team members incur by purchasing smartphones or other electronic devices that the team
 members own, voice or data plans on such devices, Internet service at team members' residence,
 other home-office equipment or furniture, and like expenses. Even if items or services such as these
 are used for business purposes at times, team members are generally not required to purchase them
 in order to perform their job duties, and they are primarily for the team member's benefit rather than
 for the Company's. Accordingly, expenses for items or services of this nature will not be reimbursed
 by the Company.




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  5-20. Lost and Found      ,

 Team members should never take responsibility for a lost and found item. Team members are never
 to assume responsibility for the personal belongings of a customer. Items found on property are to
 be submitted to the property's lost and found where they will be logged and stored. All valuable
 items will be marked with the date found and reported to security, ii applicable, and stored in a
 secure location.




 The standards of our industry dictate that certifications or licensure are necessary for specific
 positions in order to perform at a professional level. Team members must submit applicable
 documents prior to employment. It is the responsibility of the team member to keep all relevant
 certifications or licensure current. Audits will be performed of required documents for all team
 members. Failure to obtain or maintain required certifications or licensure necessary to perform the
 role may result in disciplinary action including and up to termination. Required certifications or
 licensure for specified positions may include, but are not limited to:



     • First Aid and CPR                             • USPTA Tennis Instructor Certification
     • AED                                           • Massage Therapist State
     • Lifeguarding                                    Certification/License
     • Water Safety Instructor (WSI)                 • Esthetician State Certification/License
     • Certified Pool Operator (CPO)                 • Nail Technician State
     • Nationally Recognized Personal                  Certification/License
       Training Certification                        • Cosmetology/Barbering State
     • Nationally Recognized Group Fitness             Certification/Licensing
       Certification


  5-22. Al8et Protectloq & Theft                                                  .,               . .
 The Company has an obligation to its clients to minimize inventory or asset shortage. Accordingly,
 we will pursue legal action against and/or report to law enforcement any individual apprehended for
 stealing merchandise, cash or other property from a facility and will take disciplinary action up to and
 including termination.
 II an team member observes a non-employee attempting to steal from their facility, they must
 immediately notify their supervisor. Team members should never personally intervene. This means
 team members must not directly accuse anyone of theft and must not attempt to stop the theft or
 apprehend the alleged thief.
 Team members who observe a co-worker attempting to steal from the facility have an obligation to
 immediately report the observation to their supervisor. This reporting obligation extends to suspicious
 circumstances which may indicate dishonesty of a co-worker, as well as rumors and "water cooler
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talk" indicating such dishonesty. Types of dishonest behavior which team members must report
include but are not limited to theft of Company or client property, theft of cash, improper credit card
transactions, and fraudulent time reporting.




Should the team member decide to leave the Company, we ask that they provide a Supervisor with
at least two (2) weeks advance notice of departure. Thoughtfulness will be appreciated. All
Company property including, but not limited to, keys, security cards, parking passes, laptop
computers, fax machines, uniforms, etc., must be returned at separation. Team members also must
return all of the Company's Confidential Information upon separation. To the extent permitted by law,
team members will be required to repay the Company (through payroll deduction, if lawful) for any
lost or damaged Company property. As noted previously, all team members are employed at-will and
nothing in this handbook changes that status.

 $,,24.. Exit Interviews      .                                                           •

Team members who resign are requested to participate in an exit interview via the Online survey, if
possible.




Arch Amenities Group will respond to reference requests through MyLifeAdvisor@adp.com
Department. The Company will provide general information concerning the team member such as
date of hire, date of discharge, and positions held. Requests for reference information must be in
writing, and responses will be in writing. Please refer all requests for references to
MyLifeAdvisor@adp.com Department.
Only MyLifeAdvisor@adp.com Department may provide references.
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 5-26. A Few Closing Words
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This handbook is intended to give team members a broad summary of things they should know
about Arch Amenities Group. The information in this handbook is general in nature and, should
questions arise, any member of management should be consulted for complete details. While we
intend to continue the policies, rules and benefits described in this handbook, Arch Amenities Group,
in its sole discretion, may always amend, add to, delete from or modify the provisions of this
handbook and/or change its interpretation of any provision set forth in this handbook. Team
members should not hesitate to speak to management if they have any questions about the
Company or its personnel policies and practices.




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 Section 16 • New York Addendum


 ,1n; New Y o t k - ~ I                        Discrimination

 In accordance with New York City law, Arch Amenities Group prohibits unlawful discrimination in
 employment on the basis of gender. For purposes of this policy, gender is an individual's actual or
 perceived sex, gender identity and gender expression, including a person's actual or perceived
 gender-related self-image, appearance, behavior, expression or other gender-related characteristic
 regardless of the sex assigned to that person at birth.
 The Company is dedicated to ensuring the fulfillment of this policy as it applies to all terms and
 conditions of employment, including recruitment, hiring, placement, promotion, transfer, training,
 compensation, benefits, accommodation requests, access to programs and facilities, team member
 activities and general treatment during employment.
 In furtherance of this policy:

     • The Company gives team members the option of indicating their preferred gender pronoun.
       The Company's systems allow team members to self-identify their names and genders and
       do not limit such identifications to male and female only.
     • All team members and other individuals have access to single-sex facilities consistent with
       their gender identity or expression. To the extent possible, the Company provides single-
       occupancy restrooms and provides multi-user facilities for individuals with privacy concerns,
       but will not require use of a single-occupancy bathroom because an individual is transgender
       or gender non-conforming.
     • The Company's dress code and grooming standards are gender neutral, and therefore do not
       differentiate or impose restrictions or requirements based on gender or sex.
     • The Company evaluates all requests for accommodations (including requests for medical
       leaves) in a fair and non-discriminatory manner.
     • Team members who engage with the public as part of their job duties are required to do so in
       a respectful, non-discriminatory manner by respecting gender diversity and ensuring that
       members of the public are not subject to discrimination (including discrimination with respect
       to single-sex programs and facilities).


 Team members with issues or concerns regarding gender discrimination or who feel they have been
 subjected to such discrimination can contact the Manager and/or Human Resources. The Company
 prohibits and does not tolerate retaliation against team members who report issues or concerns of
 gender discrimination pursuant to this policy in good faith.




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Aside from the internal complaint process at the Company, individuals may choose to pursue
external legal remedies with the following governmental entities.
State Human Rights Law (HRL)
The Human Rights Law (HRL), codified as N.Y. Executive Law, art. 15, § 290 et seq., applies to all
employers in New York State with regard to sexual harassment, and protects team members, paid or
unpaid interns and non-team members, regardless of immigration status. A complaint alleging
violation of the HRL may be filed either with the Division of Human Rights (DHR) or in New York
State Supreme Court.
Complaints with DHR may be filed any time within three (3) years of the sexual harassment or within
one (1) year of any other harassment. If an individual did not file at DHR, they can sue directly in
state court under the HRL, within three (3) years of the alleged harassment. An individual may not
file with DHR if they have already filed a HRL complaint in state court.
Complaining internally to the Company does not extend the time to file with DHR or in court.
 An attorney is not needed to file a complaint with DHR, and there is no cost to file with DHR.
DHR will investigate complaints and determine whether there is probable cause to believe that
sexual harassment has occurred. Probable cause cases are forwarded to a public hearing before an
administrative law judge. If sexual harassment is found after a hearing, OHR has the power to award
relief, which varies but may include requiring the employer to take action to stop the harassment, or
redress the damage caused, including paying of monetary damages, attorney's fees and civil fines.
 DHR's main office .contact information is: NYS Division of Human Rights, One Fordham Plaza,
 Fourth Floor, Bronx, New York 10458; (718) 741-8400; www.dhr.ny.gov.
Contact DHR at (888) 392-3644 or visit dhr.ny.gov/complaint for more information about filing a
complaint. The website has a complaint form that can be downloaded, filled out, notarized and
mailed to DHR. The website also contains contact information for DHR's regional offices across New
York State.
 Civil Rights Act of 1964
 The United States Equal Employment Opportunity Commission (EEOC) enforces federal anti-
 discrimination laws, including Title VII of the 1964 federal Civil Rights Act (codified as 42 U.S.C. §
 2000e et seq.). An individual can file a complaint with the EEOC anytime within 300 days from the
 harassment. There is no cost to file a complaint with the EEOC. The EEOC will investigate the
 complaint and determine whether there is reasonable cause to believe that discrimination has
 occurred, at which point the EEOC will issue a Right to Sue letter permitting the individual to file a
 complaint in federal court.
 The EEOC does not hold hearings or award relief but may take other action including pursuing cases
 in federal court on behalf of complaining parties. Federal courts may award remedies if
 discrimination is found to have occurred. In general, private employers must have at least 15 team
 members to come within the jurisdiction of the EEOC.
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 An individual alleging discrimination at work can file a "Charge of Discrimination." The EEOC has
 district, area and field offices where complaints can be filed. Contact the EEOC by calling
 1-800-669-4000 (TTY: 1-800-669-6820). visiting their website at www.eeoc.gov or via email at
 info@eeoc.gov.

 If an individual filed an administrative complaint with OHR, OHR will file the complaint with the EEOC
 to preserve the right to proceed in federal court.
 Local Protections
 Many localities enforce laws protecting individuals from harassment and discrimination. An individual
 should contact the county, city or town in which they live to find out if such a law exists. For example,
 those who work in New York City may file complaints of sexual harassment with the New York City
 Commission on Human Rights. Contact their main office at Law Enforcement Bureau of the NYC
 Commission on Human Rights, 40 Rector Street, 10th Floor, New York, New York; call 311 or (212)
 306-7450; or visit www.nyc.gov/html/cchr/html/home/home.shtml.
 Contact the local Police Department

 If the harassment involves unwanted physical touching, coerced physical confinement or coerced
 sex acts, the conduct may constitute a crime. Contact the local police department.
 Remember, Arch Amenities Group cannot remedy claimed harassment (including sexual
 harassment) or retaliation unless individuals bring these claims to the attention of management.
 Please report any conduct that violates this policy.
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 16-3. Repll>fluotlve Healtb QecislcmJllak..,.. Dlscrl!l'!fflllttorl :. ,/ :,     : , ,. ,       •   _ . . . ,,,

 Arch Amenities Group may not:

     • discriminate or take any retaliatory personnel action against team members with respect to
       compensation, terms, conditions or privileges of employment because of, or on the basis of,
       the team member's or dependent's reproductive health decision making, including but not
       limited to a decision to use or access a particular drug, device or medical service; or
     • require team members to sign a waiver or other document that purports to deny team
       members the right to make their own reproductive health care decisions, including use of a
       particular drug, device or medical service.


 The Company also may not access the team member's personal information regarding the team
 member's or the dependent's reproductive health decision making, including but not limited to the
 decision to use or access a particular drug, device or medical service without the team member's
 prior informed affirmative written consent.
 Team members may bring a civil action in any court of competent jurisdiction against the Company
 for any alleged violations of this policy. In any civil action alleging a violation of this policy, the court
 may: award damages, including, but not limited to, back pay, benefits and reasonable attorneys'
 fees and costs incurred to a prevailing plaintiff; afford injunctive relief against the Company if it
 commits or proposes to commit a violation of the provisions of this policy; order reinstatement; and/or

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 award liquidated damages equal to 100 percent of the award for damages unless the Company
 proves a good faith basis to believe that its actions in violation of this policy were in compliance with
 the law.
 Any act of retaliation for team members exercising any rights granted under this policy shall subject
 the Company to separate civil penalties. For the purposes of this policy, retaliation or retaliatory
 personnel action means discharging, suspending, demoting or otherwise penalizing team members
 for: making or threatening to make a complaint to the Company, co-worker or to a public body, that
 rights guaranteed under this policy have been violated; causing to be instituted any proceeding
 under or related to this policy; or providing information to or testifying before any public body
 conducting an investigation, hearing or inquiry into any such violation of a law, rule or regulation by
 the Company.

 Team members with issues or concerns regarding this policy or who feel they have been subjected
 to any alleged violation of this policy should contact Benefits Manager.

  16-4. New York City Temporary Schedule Change                                             ,          ,"

 Team members who work 80 or more hours in New York City in a calendar year and have been
 employed by Arch Amenities Group for 120 or more days are eligible for two (2) temporary changes
 to their work schedules each calendar year for certain "personal events."
 Personal Events
 A "personal event" includes the following:

     • the need to care for a child under the age of 18 for whom the team member provides direct
       and ongoing care;
     • the need to care for an individual ("care recipient") with a disability who is a family member or
       who resides in the caregiver's household for whom the team member provides direct and
       ongoing care to meet the needs of daily living;
     • the need to attend a legal proceeding or hearing for public benefits to which the team member,
       a family member or the team member's minor child or care recipient is a party; or
     • any other reason for which the team member may use leave under New York City's Paid Safe
       and Sick Leave law.


 For purposes of this policy a "family member" includes: a child (biological, adopted, or foster child,
 legal ward, child of the team member standing in loco parentis); a grandchild; a spouse (current or
 former regardless of whether they reside together); a domestic partner (current or former regardless
 of whether they reside together); a parent; a grandparent; a child or parent of the team member's
 spouse or domestic partner; a sibling (including a half-, adopted or step-sibling); any other individual
 related by blood to the team member; and any individual whose close association with the team
 member is the equivalent of family.
 Temporary Schedule Change
 A temporary schedule change may last up to one (1) business day on two (2) separate occasions or
 up to two (2) business days on one (1) occasion each calendar year. A business day is any 24-hour
 period during which the team member is required to work any amount of time.
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 A temporary change means an adjustment to the team member's usual schedule including in the
 hours, times or locations the team member is expected to work. The change can include:

     •   using short-term unpaid leave;
     •   using paid time off;
     •   working remotely; or
     •   swapping or shifting working hours with a co-worker.


 The Company has the option of granting unpaid leave in lieu of the temporary change requested by
 the team member.
 Request for Schedule Change
 Request for a temporary schedule change must be made orally or in writing to the Company or to the
 team member's direct supervisor as soon as practicable after the team member becomes aware of
 the need for the change. The request should include:

     • the date of the temporary schedule change;
     • that the change is due to a personal event; and
     • proposed type of temporary schedule change (unless the team member would like to use
       leave without pay).


 The Company will respond immediately to such requests. Assuming the team member has not
 exceeded the number of allowable requests and the request is for a qualifying reason, the Company
 will either approve the proposed type of temporary schedule change or provide leave without pay.
 The Company also may offer team members the ability to use paid time off. Team members will not
 be required to use leave under New York City's Paid Safe and Sick Leave law for a temporary
 schedule change.
 If the team member requested the schedule change in person or by phone, the team member must
 submit a written request no later than the second business day after the team member returns to
 work. The team member should include in the written request the date of the temporary schedule
 change and that the change was due to a personal event.
 The Company will provide a written response to any written request for temporary schedule change
 within 14 days. The response will include:

     •   if the request was granted or denied;
     •   how the request was accommodated (if granted) or the reason for denial (if denied);
     •   number of requests the team member has made for temporary schedule changes; and
     •   how many days the team member has left in the year for temporary schedule changes.


 Team members have the right to temporary schedule changes and may file a complaint for alleged
 violations of this policy and applicable law with the New York City Department of Consumer Affairs.
 The Company prohibits retaliation or the threat of retaliation against the team member for exercising
 or attempting to exercise any right provided in this policy and applicable law, or interference with any
 investigation, proceeding or hearing related to or arising out of team members' rights pursuant to this
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 policy and applicable law.
 Team members with questions concerning this policy should contact Benefits Manager.

 16-5. Sick Leave

 Eligibility
 Arch Amenities Group provides paid sick leave to all team members. For team members who work in
 New York who are eligible for sick time under the general Sick Days policy and/or any other
 applicable sick time/leave law or ordinance, this policy applies solely to the extent that it provides
 greater benefits/rights on any specific issue or issues than the general Sick Days policy and/or any
 other applicable sick time/leave law or ordinance.
 Accrual
 Team members begin accruing paid sick leave pursuant to this policy at the start of employment.
 Team members will accrue one (1) hour of paid sick leave for every 30 hours worked, up to a
 maximum accrual of 56 hours each calendar year. Exempt team members are assumed to work 40
 hours in each workweek unless their normal workweek is less than 40 hours, in which case sick
 leave accrues based on that normal workweek. For purposes of this policy, the calendar year is the
 consecutive 12-month period beginning January 1 and ending on December 31.
 Usage
 Team members may begin using sick leave once it is accrued. Sick leave may be used in a minimum
 increment of four (4) hours. Team members may not use more than 56 hours of sick leave in any
 calendar year.
 Team members may use accrued sick leave for the following reasons:

     • a mental or physical illness, injury or health condition of the team member or family member,
       regardless of whether such illness, injury or health condition has been diagnosed or requires
       medical care at the time sick leave is requested;
     • the diagnosis, care or treatment of a mental or physical illness, injury or health condition of, or
       need for medical diagnosis of, or preventive care for, the team member or family member; or
     • an absence from work due to any of the following reasons when the team member or family
       member has been the victim of domestic violence, a family offense, sexual offense, stalking or
       human trafficking:

             1. to obtain services from a domestic violence shelter, rape crisis center or other services
                program;
             2. to participate in safety planning, temporarily or permanently relocate or take other
                actions to increase the safety of the team member or family members;
             3. to meet with an attorney or other social services provider to obtain information and
                advice on, and prepare for or participate in, any criminal or civil proceeding;
             4. to file a complaint or domestic incident report with law enforcement;
             5. to meet with a district attorney's office;
             6. to enroll children in a new school; or
             7. to take any other actions necessary to ensure the health or safety of the team member
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              or family members or to protect associates or work colleagues.


 A person who has committed such domestic violence, family offense, sexual offense, stalking or
 human trafficking will not be eligible for paid sick leave for situations in which the person committed
 such offense and was not a victim, notwithstanding any family relationship.
 For purposes of this policy, "family member" means:

     • a child (biological, adopted, or foster child, a legal ward or a child of the team member
       standing in loco parentis);
     • spouse or domestic partner;
     • parent (biological, foster, step, adoptive, legal guardian or person who stood in loco parentis
       when the team member was a minor child);
     • sibling;
     • grandchild or grandparent; and
     • the child or parent of the team member's spouse or domestic partner.


 Unless advised otherwise, the Company will assume, subject to applicable law, that team members
 want to use available sick leave for the reasons set forth above, and team members will be paid for
 such absences to the extent they have paid sick leave available.
 Notice and Documentation
 Team members may make oral or written requests to Benefits Manager to use sick leave prior to
 using accrued sick leave.
 The Company may require supporting documentation for the use of sick leave where the team
 member uses sick leave for three (3) or more consecutive or previously scheduled work days or
 shifts, to the extent permitted by applicable law. Requests for documentation should not specify the
 reason for leave but should be limited to: (i) an attestation from a licensed medical provider
 supporting the existence of a need for sick leave, the amount of leave needed and a date that the
 team member may return to work; or (ii) an attestation from an team member of their eligibility to
 leave. The Company will not require disclosure of confidential information relating to a mental or
 physical illness, injury or health condition or information relating to absence from work due to
 domestic violence, a sexual offense, stalking or human trafficking, as a condition of providing sick
 leave. The Company will not require an team member to pay any costs or fees associated with
 obtaining medical or other verification of eligibility for use of sick leave.

 Payment
 Sick leave will be paid at the team member's regular rate of pay or the applicable state minimum
 wage, whichever is greater. Use of sick leave is not considered hours worked for purposes of
 calculating overtime.
 Carryover and Payout
 Team members may carry over any unused sick leave to the following calendar year. However, team
 members only may use up to 56 hours in each calendar year. Accrued but unused sick leave will not
 be paid at separation.

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 Enforcement and Retaliation
 Team members will not be discharged, threatened, penalized or in any other manner discriminated
 or retaliated against because they have exercised their rights to request and use sick leave under
 this policy and applicable law.
 If team members have any questions regarding this policy, they should contact Benefits Manager.




 Ellglblllty
 Arch Amenities Group provides paid safe and sick time to team members who work in New York
 City. For team members who work in New York City who are eligible for sick time under the general
 Sick Days policy, this policy applies solely to the extent it provides greater benefits/rights on any
 specific issue or issues than the general Sick Days policy.
 Accrual
 Team members begin accruing paid safe and sick time pursuant to this policy at the start of
 employment. Eligible team members will accrue one (1) hour of safe and sick time for every 30 hours
 worked, up to a maximum accrual of 56 hours each calendar year. Exempt team members are
 assumed to work 40 hours in each workweek unless their normal workweek is less than 40 hours, in
 which case safe and sick time accrues based upon that normal workweek. For purposes of this
 policy, the calendar year is the consecutive 12-month period beginning January 1 and ending on
 December 31.
 Usage
 Team members may begin using paid safe and sick time once it is accrued. Safe and sick time may
 be used in a minimum increment of four (4) hours, provided this is reasonable under the
 circumstances. Team members may not use more than 56 hours of safe and sick time in any
 calendar year.
 Team members may use paid safe and sick time for absences due to:

    1. the team member's mental or physical illness, injury or health condition or need for medical
       diagnosis, care or treatment of a mental or physical illness, injury or health condition or need
       for preventive medical care;
    2. the care of the team member's family member who needs medical diagnosis, care or
       treatment of a mental or physical illness, injury or health condition or who needs preventive
       medical care;
    3. closure of the team member's place of business by order of a public official due to a public
       health emergency or such team member's need to care for a child whose school or childcare
       provider has been closed by order of a public official due to a public health emergency; or
    4. the team member or a family member being the victim of domestic violence, family offense
       matters, sexual offenses, stalking or human trafficking:

               • to obtain services from a domestic violence shelter, rape crisis center or other shelter or
                 services program for relief from domestic violence, a family offense matter, sexual
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                 offense, stalking or human trafficking;
             •   to participate in safety planning, temporarily relocate or take other actions to increase
                 the safety of the team member or family members from future domestic violence, family
                 offense matters, sexual offenses, stalking or human trafficking;
             •   to meet with a civil attorney or other social service provider to obtain information and
                 advice on, and prepare for or participate in any criminal or civil proceeding, including but
                 not limited to matters related to domestic violence, a family offense matter, sexual
                 offense, stalking, human trafficking, custody, visitation, matrimonial issues, orders of
                 protection, immigration, housing, discrimination in employment, housing or consumer
                 credit;
             •   to file a complaint or domestic incident report with law enforcement;
             •   to meet with a district attorney's office;
             •   to enroll children in a new school; or
             •   to take other actions necessary to maintain, improve or restore the physical,
                 psychological, or economic health or safety of the team member or family member or to
                 protect those who associate or work with the team member.


 For purposes of this policy, family member means a child (biological, adopted or foster child, a legal
 ward or a child of the team member standing in loco parentis), spouse, domestic partner, parent
 (biological, foster, step, adoptive, legal guardian or person who stood in loco parentis when the team
 member was a minor child), sibling (including half siblings, step siblings or siblings related through
 adoption), grandchild, grandparent, the child or parent of the team member's spouse or domestic
 partner, any other individual related by blood to the team member, and any other individual whose
 close association with the team member is the equivalent of a family relationship.

 Use of safe and sick time will not be conditioned upon searching for or finding a replacement worker.
 Unless advised otherwise, the Company will assume, subject to applicable law, that team members
 want to use available safe and sick time for absences for reasons set forth above. Team members
 will be paid for such absences to the extent they have paid safe and sick time available.
 Team members will be advised of the amount of time accrued and used during a pay period and the
 total balance of accrued safe and sick time on the pay statement or other form of written
 documentation provided each pay period.
 Notice and Documentation
 Team members may make requests to their Manager to use paid safe and sick time orally or in
 writing prior to using accrued safe and sick time.
 The Company may require supporting documentation if team members use paid safe and sick time
 for more than three (3) consecutive workdays, to the maximum extent permitted by applicable law.
 For paid safe and sick time used for reasons #1 or #2 above, documentation signed by a licensed
 health care provider indicating the need for the amount of safe and sick time taken and that safe and
 sick time was used for a covered reason under this policy and/or applicable law will be considered
 reasonable documentation, and such documentation need not specify the nature of the injury, illness
 or condition, except as required by law. For paid safe and sick time used for reason #4 above,
 documentation signed by another team member, agent or volunteer of a victim services organization,
 an attorney, a member of the clergy or a medical or other professional service provider from whom
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 the team member or family member has sought assistance in addressing domestic violence, family
 offense matters, sex offenses, stalking or human trafficking and their effects; a police or court record;
 or a notarized letter from the team member explaining the need for such time will be considered
 reasonable documentation, and such documentation need not specify the details of the domestic
 violence, family offense matter, sexual offense, stalking or human trafficking. Where a health care
 provider charges team members a fee for providing supporting documentation, the Company will
 reimburse team members for such fee. The Company also will reimburse team members for all
 reasonable costs or expenses incurred for obtaining supporting documentation requested for safe
 and sick time used for reason #4 above.
 The Company will not require the disclosure of confidential information relating to a mental or
 physical illness, injury or health condition or information relating to absence from work due to
 domestic violence, a sexual offense, stalking or human trafficking as a condition of providing safe
 and sick time. Moreover, the Company cannot require that team members or a health care or service
 provider disclose personal health information or the details of the matter for which the team member
 requests safe leave under the New York City Paid Safe and Sick Leave Law. The Company must
 keep information about team members or their family members obtained solely because of the Paid
 Safe and Sick Leave law confidential unless the team member consents to disclosure in writing or
 disclosure is required by law.
 The Company may take disciplinary action, up to and including termination, against team members
 who use safe and sick time provided under this policy for purposes other than those described
 above, to the maximum extent permitted by applicable law.
 Payment
 Safe and sick time will be paid at the same rate as the team member earns at the time the team
 member uses such time, unless otherwise required by applicable law, but no less than the applicable
 minimum wage. Safe and sick time will be paid no later than the payday for the next regular payroll
 period beginning after the safe and sick time was used. Use of paid safe and sick time is not
 considered hours worked for purposes of calculating overtime.
 Carryover and Payout
 Team members may carry over any unused sick and safe leave to the following calendar year.
 However, team members only may use up to 56 hours in each calendar year. Unused safe and sick
 time will not be paid at separation.
 Enforcement and Retaliation
 Team members have the right to request and use safe and sick time and may file a complaint for
 alleged violations of this policy with the New York City Department of Consumer and Workforce
 Protection or the New York State Department of Labor. The Company prohibits retaliation or the
 threat of retaliation against team members for exercising or attempting to exercise any right provided
 in this policy or interference with any investigation, proceeding or hearing related to or arising out of
 team member rights pursuant to this policy and applicable law.
 Team members with questions concerning this policy should contact Benefits Manager.




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  16-7. NeW York City ~tion Room                                                               .   •.

 Pursuant to New York City law, team members needing to express breast milk have a right to
 request access to a lactation room. Arch Amenities Group will provide a lactation room, unless doing
 so would impose an undue hardship on the Company. If doing so poses an undue hardship, the
 Company will engage in a cooperative dialogue with team members to discuss reasonable
 alternatives in an attempt to accommodate their needs.
 For purposes of this policy, the term lactation room means a sanitary place, other than a restroom,
 that can be used to express breast milk shielded from view and free from intrusion and that includes
 at minimum an electrical outlet, a chair, a surface on which to place a breast pump and other
 personal items, and nearby access to running water. Unless doing so poses an undue hardship, the
 Company will provide a lactation room in reasonable proximity to the team member's work area and
 a refrigerator suitable for breast milk storage also in reasonable proximity to the work area. If the
 room designated to serve as a lactation room is also used for another purpose, the sole function of
 the room will be as a lactation room while the team member is using the room to express breast milk.
 While the room is being used to express milk, notice will be provided that the room is given
 preference for use as a lactation room.
 Team members may submit a request for a lactation room by contacting the Benefits Manager
 and/or Human Resources. The Company will respond to such requests within five (5) business days.
 If two (2) or more team members need to use the lactation room at the same time, they should
 contact the Benefits Manager and/or Human Resources so that arrangements can be made to
 ensure all individuals have access to the lactation room amenities. Team members should contact
 the Benefits Manager and/or Human Resources with any follow-up questions.
 The Company will provide a reasonable amount of break time each day for team members to
 express breast milk pursuant to section 206-c of the New York Labor Law. Please refer to the
 Lactation Breaks policy for more information.
 The Company will not tolerate discrimination or harassment based on the request for or usage of
 lactation accommodations. Any discrimination, harassment, or other violations of this policy can be
 reported to the Benefits Manager and/or Human Resources.
 Team members can contact the Benefits Manager and/or Human Resources with questions
 regarding this policy.




 Ellglblllty Requirements
 Team members who have a regular work schedule of 20 or more hours per week and have been
 employed at least 26 consecutive weeks prior to the date Paid Family Leave (PFL) begins (or who
 have a regular work schedule of less than 20 hours per week and have worked at least 175 days to
 the elate PFL begins) are eligible for PFL. An team member has the option to file a waiver of PFL and
 therefore not be subject to deductions when his or her regular employment is:

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     • 20 or more hours per week but the team member will not work 26 consecutive weeks; or
     • fewer than 20 hours per week and the team member will not work 175 days in a 52
       consecutive week period


 Entitlement
 PFL is available to eligible team members for up to eight (8) weeks (increases to 10 weeks on or after
 January 1, 2019 and up to 12 weeks on or after January 1, 2021)within any 52 consecutive week
 period. PFL is available for any of the following reasons:

     • to participate in providing care, including physical or psychological care, for the employee's
       family member (child, spouse, domestic partner, parent, parent-in-law, grandchild or
       grandparent) with a serious health condition; or
     • to bond with the employee's child during the first 12 months after the child's birth, adoption
       or foster care placement; or
     • for qualifying exigencies, as interpreted by the Family and Medical Leave Act (FMLA), arising
       out of the fact that the employee's spouse, domestic partner, child or parent is on active duty
       (or has been notified of an impending call or order to active duty) in the armed forces of the
       United States.


 The 52 consecutive week period is determined retroactively with respect to each day for which PFL
 benefits are currently being claimed.
 PFL benefits are financed solely through team member contributions via payroll deductions.
 The weekly monetary benefit will be 50% of the employee's average weekly wage or 50% of the
 state average weekly wage, whichever is less (increases to 55% on or after January 1, 2019, 60% on
 or after January 1, 2020 and 67"/o or after January 1, 2021).
 The Company and an team member may agree to allow the team member to supplement PFL
 benefits up to their full salary with paid time off, to the maximum extent permitted by applicable law.
 An team member who Is eligible for both statutory short-term disability benefits and PFL
 during the same period of 52 consecutive calendar weeks may not receive more than 26 total
 weeks of disability and PFL benefits during that period of time. Statutory short-term disability
 benefits and PFL benefits may not be used concurrently.
 Definition of a Serious Health Condition
 A serious health condition is an illness, injury, impairment, or physical or mental condition that
 involves inpatient care in a hospital, hospice or residential health care facility; or continuing treatment
 or continuing supervision by a health care provider. Subject to certain conditions, the continuing
 treatment or continuing supervision requirement may be met by a period of incapacity of more than
 three (3) consecutive full days during which a family member is unable to work, attend school,
 perform regular daily activities or is otherwise incapacitated due to illness, injury, impairment or
 physical or mental conditions, and any subsequent treatment or period of incapacity relating to the
 same condition, that also involves treatment two (2) or more times by a health care provider; or
 treatment on at least one (1) occasion by a health care provider, which results in a regimen of
 continuing treatment under the supervision of the health care provider. The continuing treatment or
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continuing supervision requirement also may be met by any period during which a family member is
unable to work, attend school, perform regular daily activities or is otherwise incapacitated due to a
chronic serious health condition or an illness, injury, impairment, or physical or mental condition for
which treatment may not be effective. A chronic serious health condition is one which requires
periodic visits tor treatment by a health care provider; continues over an extended period of time
(including recurring episodes of a single underlying condition); and may cause episodic rather than a
continuing period of incapacity. Examples of such episodic incapacity include but are not limited to
asthma, diabetes and epilepsy. Other conditions may meet the definition of continuing treatment.

Use of Leave
An team member does not need to use this leave entitlement in one (1) block. Leave can be taken
intermittently in increments of at least one (1) full day or on a reduced leave schedule, except that an
team member may only take intermittent or reduced leave to care for a family member with a serious
health condition where it is shown to be medically necessary. Team members must make
reasonable efforts to schedule intermittent or reduced leave so as not to unduly disrupt the
Company's operations. Leave taken on an intermittent or reduced leave schedule will not result in a
reduction of the total amount of leave to which an team member is entitled beyond the amount of
leave actually taken.
Team member Responsibilities
An team member must provide 30 days' advance notice before the date leave is to begin if the
qualifying event is foreseeable. When 30 days' notice is not practicable for reasons such as lack of
knowledge of approximately when leave will be required to begin, a change in circumstances, or a
medical emergency, the team member must provide notice as soon as practicable and generally
must comply with the Company's normal call-in procedures. Failure by the team member to give 30
days' advance notice of a foreseeable event may result in partial denial of the employee's benefits
for a period of up to 30 days from the date notice is provided.
Team members must provide sufficient information to make the Company aware of the qualifying
event and the anticipated timing and duration of the leave. Team members must specifically identify
the type of family leave requested. Team members also must provide medical certifications and
periodic recertification or other supporting documentation or certifications supporting the need tor
leave. An team member requesting PFL must submit the following forms to the Company's
insurance carrier: 1) a completed Request for Paid Family Leave or PFL-1 form 2) Bonding
Certification: PFL-2 Form plus documentation; 3) Health Care Provider Certification: PFL-4 Form
plus Personal Health Information (PHI) Release (PFL-3 Form); or 4) Military Qualifying Event: PFL-5
Form plus documentation. These documents are available from Benefits Manager.

 Job Benefits and Protection
 During any PFL taken pursuant to this policy, the Company will maintain coverage under any existing
 group health insurance benefits plan as if the team member had continued to work. The team
 member must make arrangements with Benefits prior to taking leave to pay their portion of any
 applicable health insurance premiums each month.
 The Company's obligation to maintain health insurance coverage ceases if an employee's premium
 payment is more than 30 days late. If an employee's payment is more than 15 days late, the
 Company will send a letter notifying the team member that coverage will be dropped on a specified

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 date unless the co-payment is received before that date.
 Any team member who exercises his or her right to PFL will, upon the expiration of that leave, be
 entitled to be restored to the position held by the team member when the leave commenced, or to a
 comparable position with comparable benefits, pay and other terms and conditions of employment.
 The taking of leave covered by PFL will not result in the loss of any employment benefit accrued
 prior to the date on which the leave commenced.
 Leave Concurrent with FMLA
 The Company will require an team member who is entitled to leave under both the Family & Medical
 Leave Act (FMLA) and PFL, to take PFL concurrently with any leave taken pursuant to the FMLA.
 When the total hours taken for FMLA in less than full-day increments reaches the number of hours in
 an employee's usual workday, the Company may deduct one (1) day of PFL from an employee's
 annual available PFL.
 If team members have any questions regarding this policy, they should contact Benefits Manager.




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